Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018    Pg: 1 of 28               Total Pages:(1 of 117)




                                       Case No. __________


                      IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT



                                 IN RE MURPHY-BROWN LLC,
                                         Petitioner.




                               Petition for Writ of Mandamus to the
              United States District Court for the Eastern District of North Carolina in
                      McKiver v. Murphy-Brown, LLC, No. 7:14-cv-180-BR,
                     McGowan v. Murphy-Brown, LLC, No. 7:14-cv-182-BR,
                        Anderson v. Murphy-Brown, LLC, 7:14-cv-183-BR,
                       Gillis v. Murphy-Brown, LLC, 7:14-cv-185-BR, and
                          Artis v. Murphy-Brown, LLC, 7:14-cv-237-BR




                  PETITION FOR WRIT OF MANDAMUS ON BEHALF OF
                               MURPHY-BROWN LLC



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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 1 of 117
Appeal: 18-1762       Doc: 2-1              Filed: 07/06/2018             Pg: 2 of 28                            Total Pages:(2 of 117)




                                                TABLE OF CONTENTS

                                                                                                                           Page
        TABLE OF CONTENTS ........................................................................................... i
        TABLE OF AUTHORITIES .................................................................................... ii
        PRELIMINARY STATEMENT ...............................................................................1
        STATEMENT OF FACTS ........................................................................................1
             A. The Swine Farm Nuisance Litigation. .......................................................... 1
             B. The District Court’s Gag Order..................................................................... 4
        STATEMENT OF THE ISSUES PRESENTED .......................................................6
        STATEMENT OF RELIEF SOUGHT ......................................................................6
        STATEMENT OF WHY THE WRIT SHOULD ISSUE..........................................6
        I.   MANDAMUS IS THE PROPER METHOD TO REVIEW AN
             UNCONSTITUTIONAL GAG ORDER. ...........................................................7
        II. THE GAG ORDER VIOLATES THE FIRST AMENDMENT.........................7
             A. The Gag Order is a Prior Restraint Subject to First Amendment
                Scrutiny. ........................................................................................................7
             B. The District Court Entered the Gag Order Without Any Factual
                Findings or Support.......................................................................................9
             C. Less Restrictive Alternatives Would Protect the Proceedings from
                Potential Prejudice. .....................................................................................12
             D. The Gag Order Irreparably Harms First Amendment Freedoms. ............... 15
        III. THE GAG ORDER IS UNCONSTITUTIONALLY VAGUE AND
             OVERBROAD. .................................................................................................16
        CONCLUSION ........................................................................................................20
        STATEMENT REGARDING ORAL ARGUMENT .............................................20
        CERTIFICATE OF COMPLIANCE .......................................................................22
        CERTIFICATE OF SERVICE ................................................................................23
                                                                    i

                Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 2 of 117
Appeal: 18-1762      Doc: 2-1              Filed: 07/06/2018          Pg: 3 of 28                          Total Pages:(3 of 117)




                                            TABLE OF AUTHORITIES

                                                                                                                    Page

        CASES
        Capital Cities Media, Inc. v. Toole,
         463 U.S. 1303 (1983) .......................................................................................7, 15

        Elrod v. Burns,
          427 U.S. 347 (1976) .........................................................................................7, 15

        Gentile v. State Bar,
         501 U.S. 1030 (1991) .............................................................................. 13, 16, 17

        In re Charlotte Observer,
          882 F.2d 850 (4th Cir. 1989) ........................................................................ passim

        In re First Fed. Sav. & Loan Ass’n of Durham,
          860 F.2d 135 (4th Cir. 1988) ..................................................................................6
        In re Morrissey,
          168 F.3d 134 (4th Cir. 1999) ..................................................................................8
        In re Russell,
          726 F.2d 1007 (4th Cir. 1984) ................................................................... 8, 10, 11
        In re State-Record Co., Inc.,
          917 F.2d 124 (4th Cir. 1990) ......................................................................... 10, 11

        In re The Wall Street Journal,
          601 F. App’x 215 (4th Cir. 2015) ...........................................................................7

        In re Wash. Post Co.,
          807 F.2d 383 (4th Cir. 1986) ............................................................................7, 10

        Johnson v. Bergland,
          586 F.2d 993 (4th Cir. 1978) ................................................................................15
        Neb. Press Ass’n v. Stuart,
         427 U.S. 539 (1976) .................................................................................... 7, 9, 12



                                                                 ii

                Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 3 of 117
Appeal: 18-1762       Doc: 2-1              Filed: 07/06/2018            Pg: 4 of 28                           Total Pages:(4 of 117)




        Press-Enterprise Co. v. Superior Court of Calif.,
          478 U.S. 1 (1986) .................................................................................................12

        Se. Promotions, Ltd. v. Conrad,
          420 U.S. 546 (1975) .........................................................................................8, 15

        Skilling v. United States,
          561 U.S. 358 (2010) .........................................................................................9, 12

        Tory v. Cochran,
          544 U.S. 734 (2005) .............................................................................................19

        United States v. King,
         192 F.R.D. 527 (E.D. Va. 2000)...........................................................................18

        CONSTITUTIONAL PROVISIONS
        U.S. Const. amend. I ..............................................................................................1, 6
        U.S. Const. amend. V...................................................................................... 1, 6, 16

        RULES
        N.C.R.P.C. 3.6(a) .....................................................................................................14

        SECONDARY SOURCES
        Valerie Bauerlein, Pork Giant Loses Essential Legal Battle in Manure Case, Wall
         Street Journal (June 29, 2018), https://www.wsj.com/articles/pork-giant-loses-
         essential-legal-battle-in-manure-case-1530314322 .............................................15




                                                                   iii

                 Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 4 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018   Pg: 5 of 28                 Total Pages:(5 of 117)




                                 PRELIMINARY STATEMENT
              Petitioner Murphy-Brown LLC (dba Smithfield Hog Production Division)

        challenges an unconstitutional gag order that enjoins Petitioner and hundreds of

        other individuals from speaking publicly about matters in twenty-six cases pending

        in the Eastern District of North Carolina. See Ex. 1. The district court entered the

        order sua sponte with no forewarning, without a sufficient basis to conclude that

        such a sweeping prior restraint is necessary, and without evaluating whether less

        restrictive measures would protect the impartiality of the potential jury pool.

        Because the order plainly violates the Free Speech Clause of the First Amendment

        and the Due Process Clause of the Fifth Amendment, the Court should issue a writ

        of mandamus and vacate the order.

                                    STATEMENT OF FACTS
              A.     The Swine Farm Nuisance Litigation.
              In twenty-six separate cases filed in the Eastern District of North Carolina,

        more than five hundred plaintiffs have brought private nuisance claims against

        Murphy-Brown LLC alleging, among other things, that odors, flies, and truck

        traffic from hog farms have substantially interfered with the use and enjoyment of

        their properties. In 2015, the district court consolidated the lawsuits into a Master

        Case docket. In re: N.C. Swine Farm Nuisance Litigation, Master Case No. 5:15-

        cv-00013-BR. The court selected five lawsuits for detailed discovery, designating


                                                  1

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 5 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018     Pg: 6 of 28                 Total Pages:(6 of 117)




        those cases as the “Discovery Pool Cases.” 1 See No. 5:15-cv-00013-BR, ECF No.

        476 at 1. After discovery in those cases concluded, the court ordered a series of

        staggered trials for the Discovery Pool Cases. See No. 5:15-cv-00013-BR, ECF

        No. 488.

              Eleven separate trials involving plaintiff subgroups are contemplated for the

        first five Discovery Pool Cases. At the current rate of progress, those trials will not

        be completed until sometime in 2019. The court is beginning to open discovery in

        the next batch of cases and will set them for trial in turn. All told, final resolution

        of the pending twenty-six nuisance cases will take several years.

              The first trial—involving a subgroup of ten plaintiffs in McKiver v. Murphy-

        Brown, LLC, No. 7:14-cv-180-BR—commenced on April 2, 2018. During jury

        selection, the district court conducted voir dire to determine whether potential

        jurors could be impartial. Two admitted they had heard about the case before

        coming to court. The first potential juror had seen a news story about the case and

        admitted that he had formed an opinion about the merits. See Ex. 2 at 43:17-44:21.

        The district court excluded him from the jury pool. Id. at 67:16-17. The second

        potential juror also heard a story on the news but said he could remain impartial.


              1
               The Discovery Pool Cases are McKiver v. Murphy-Brown, LLC, No. 7:14-
        cv-180-BR; McGowan v. Murphy-Brown, LLC, No. 7:14-cv-182-BR; Anderson v.
        Murphy-Brown, LLC, No. 7:14-cv-183-BR; Gillis v. Murphy-Brown, LLC, No.
        7:14-cv-185-BR; and Artis v. Murphy-Brown, LLC, No. 7:14-cv-237-BR.

                                                   2

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 6 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018   Pg: 7 of 28                 Total Pages:(7 of 117)




        See id. 60:2-61:6. The judge permitted him to remain but plaintiffs’ counsel used a

        peremptory strike to remove him. Id. at 121:5. At the end of the eighteen-day

        trial, the jury awarded each of the ten plaintiffs $75,000 in compensatory damages

        and $5,000,000 in punitive damages (reduced to $250,000 each under North

        Carolina law). See McKiver, No. 7:14-cv-180-BR, ECF Nos. 267, 277.

              The second trial—involving two plaintiffs in McGowan v. Murphy-Brown,

        LLC, No. 7:14-cv-182-BR—started on May 29. As before, the district court

        conducted voir dire of the jury venire. This time, eleven of fifty potential jurors

        said they had heard about the case, but ten said it would not prevent them from

        being impartial.2 Two of those ten ended up on the jury. See Ex. 3 at 113:10-16.

              During the McGowan trial, the district judge was informed that a juror had

        been conducting internet research during the trial and speaking to other jurors

        about it. See Ex. 4 at 2. The court’s inquiry revealed conflicting accounts of what

        happened, but jurors who learned some of that information assured the court that

        they could remain impartial. Id. at 19:18-21, 26:11-15, 30:12-18, 33:9-13, 39:4-

        10, 45:22-46:5, 54:3-9. Although Petitioner requested a mistrial, id. at 57, the



              2
                See Ex. 3 at 34:8-25; 35:1-25; 36:3-21; 36:24-37:17; 38:23-39:12; 41:3-19;
        43:13-19; 48:7-49:2; 52:14-53:3; 54:16-55:8. The district court excused one
        member of the venire because she had formed an opinion about the issues in the
        case. See id. 47:9-48:4. Murphy-Brown struck for cause one other member of the
        venire who had read media reports about the case. See id. 90:3-13.

                                                  3

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 7 of 117
Appeal: 18-1762      Doc: 2-1      Filed: 07/06/2018    Pg: 8 of 28                  Total Pages:(8 of 117)




        court denied the motion. See McGowan, No. 7:14-cv-182-BR ECF (June 22, 2018

        Dkt ref.).

              At the end of that twenty-three-day trial, the jury awarded each of the

        plaintiffs $65,000 in compensatory damages and $12,500,000 in punitive damages.

        See McGowan, No. 7:14-cv-182-BR, ECF No. 279.

              The third trial commences on July 11, 2018, involving a subgroup of

        plaintiffs in Artis v. Murphy-Brown, LLC, 7:14-cv-237-BR.

              B.       The District Court’s Gag Order.
              On June 27, 2018, two days before the jury verdict in McGowan, the district

        court sua sponte entered a broad order limiting the freedom of persons involved in

        the litigation to speak about the cases. See Ex. 1 (the “Gag Order”). 3 The Gag

        Order prohibits all parties and their lawyers, representatives, and agents, as well as

        “all potential witnesses,” from

                       giv[ing] or authoriz[ing] any extrajudicial statement or
                       interview to any person or persons associated with any
                       public communications media or that a reasonable person
                       would expect to be communicated to a public
                       communications media relating to the trial, the parties or
                       issues in this case which could interfere with a fair trial
                       or prejudice any plaintiff, the defendant, or the
                       administration of justice and which is not a matter of
                       public record. Statements of information intended to

              3
                The district court entered the Gag Order under the captions of the
        Discovery Pool Cases, but in a footnote the court noted that “this litigation”
        entailed twenty-six cases filed against Murphy-Brown. See Gag Order at 2. n.1.

                                                    4

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 8 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018     Pg: 9 of 28                Total Pages:(9 of 117)




                     influence public opinion regarding the merits of this case
                     are specifically designated as information which could
                     prejudice a party.

        Id. at 3. The order does not define “public communications media.” The district

        court made no factual findings of what actions or events necessitated the Gag

        Order except to say that it was based on “the volume and scope of prejudicial

        publicity observed” in the first two trials and “the substantial risk of additional

        publicity tainting or biasing future jury pools.” Id. The Gag Order will not expire

        “until the final verdict in these cases.” Id.

              The Gag Order includes certain exceptions. Provided they do so “without

        elaboration or any kind of characterization whatsoever,” covered individuals may

        make statements about “the general nature of an allegation or defense”;

        “information contained in the public record of this case”; “scheduling

        information”; and “any decision made or order issued by the court which is a

        matter of public record.” Id. at 3-4. Covered individuals may also “[e]xplain[],

        without any elaboration or any kind of characterization whatsoever, the contents or

        substance of any motion or step in the proceedings, to the extent such motion or

        step is a matter of public record,” as well as “any ruling made thereon to the extent

        that such ruling is a matter of public record.” Id. at 4.4

              4
                The Gag Order also restricts court personnel from making unauthorized
        disclosures of “information relating to this case that is not part of the public
        records of this court.” Gag Order at 4.

                                                    5

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 9 of 117
Appeal: 18-1762     Doc: 2-1        Filed: 07/06/2018   Pg: 10 of 28              Total Pages:(10 of 117)




                          STATEMENT OF THE ISSUES PRESENTED
               1.     Whether the Gag Order violates the Free Speech Clause of the First

        Amendment because it prohibits all known and potential trial participants from

        expressing opinions about matters in the pending cases without any basis in the

        record to show that such an extreme restriction on protected speech is necessary to

        protect the right to a fair trial.

               2.     Whether the Gag Order violates the Due Process Clause of the Fifth

        Amendment because it is unduly vague and open-ended.

                                STATEMENT OF RELIEF SOUGHT
               Petitioner seeks a writ of mandamus vacating the Gag Order.

                      STATEMENT OF WHY THE WRIT SHOULD ISSUE
               Mandamus should be granted when (1) “the petitioner has shown a clear

        right to the relief sought”; (2) the respondent has “a clear duty” to perform the act

        requested; and (3) “no other adequate remedy is available.” In re First Fed. Sav. &

        Loan Ass’n of Durham, 860 F.2d 135, 138 (4th Cir. 1988).

               Petitioner satisfies these elements. Petitioner and other trial participants

        have a clear First Amendment right to speak and express opinions about matters

        involved in pending litigation without fear that comments reported directly or

        indirectly to “public communications media”—whatever that means—will

        constitute “elaboration or any kind of characterization” that will subject them to

        contempt proceedings. The district court has a clear duty to respect those
                                                6

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 10 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018    Pg: 11 of 28              Total Pages:(11 of 117)




        constitutional rights and the Gag Order is facially defective. And Petitioner lacks

        an adequate remedy because the “loss of First Amendment freedoms, for even

        minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v.

        Burns, 427 U.S. 347, 373 (1976) (plurality opinion); see also Capital Cities Media,

        Inc. v. Toole, 463 U.S. 1303, 1304 (1983) (Brennan, J., in chambers) (same).

        I.    MANDAMUS IS THE PROPER METHOD TO REVIEW AN
              UNCONSTITUTIONAL GAG ORDER.
              Fourth Circuit precedent makes clear that mandamus is the “preferred

        method of review” of orders restricting First Amendment rights in the context of

        ongoing trial proceedings. In re The Wall Street Journal, 601 F. App’x 215, 218

        (4th Cir. 2015); In re Charlotte Observer, 882 F.2d 850, 852 (4th Cir. 1989)

        (same); In re Wash. Post Co., 807 F.2d 383, 388 (4th Cir. 1986) (same).

        II.   THE GAG ORDER VIOLATES THE FIRST AMENDMENT.

              A.     The Gag Order is a Prior Restraint Subject to First Amendment
                     Scrutiny.
              The Gag Order is an impermissible prior restraint on free speech because it

        prohibits dozens—if not hundreds—of individuals from speaking freely about facts

        related to the nuisance cases. Prior restraints “are the most serious and the least

        tolerable infringement on First Amendment rights” and constitute “one of the most

        extraordinary remedies known to our jurisprudence.” Neb. Press Ass’n v. Stuart,

        427 U.S. 539, 559, 562 (1976). The judicial disfavor of prior restraints derives

        from “a theory deeply etched in our law: a free society prefers to punish the few
                                                 7

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 11 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018   Pg: 12 of 28              Total Pages:(12 of 117)




        who abuse rights of speech after they break the law than to throttle them and all

        others beforehand.” Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 559 (1975)

        (emphasis added). Even when imposed by courts, “the barriers to prior restraint

        remain high and the presumption against its use continues intact.” Neb. Press, 427

        U.S. at 570.

               To be sure, this Court has held that limited restrictions on the comments of

        lawyers and parties to a lawsuit may be appropriate in some circumstances to

        ensure the fairness of trial proceedings. See In re Russell, 726 F.2d 1007 (4th Cir.

        1984). But that restriction must be “no greater than necessary.” In re Morrissey,

        168 F.3d 134, 140 (4th Cir. 1999). Trial courts considering an order restricting

        speech must therefore carefully consider the needs and circumstances of a specific

        case and the character of the media coverage that might prejudice the jury pool.

        See In re Charlotte Observer, 882 F.2d at 854-56 (rejecting order restricting access

        to court documents despite “pervasive, sensational, [and] inflammatory” media

        attention). Only then may a court impose a prior restraint on the communications

        of trial participants.

               A trial court must also remember that publicity—even significant

        publicity—does not automatically jeopardize the empaneling of an impartial jury.

        As the Supreme Court has emphasized, “[p]rominence does not necessarily

        produce prejudice, and juror impartiality, we have reiterated, does not require

                                                  8

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 12 of 117
Appeal: 18-1762    Doc: 2-1        Filed: 07/06/2018   Pg: 13 of 28              Total Pages:(13 of 117)




        ignorance.” Skilling v. United States, 561 U.S. 358, 381 (2010); see Neb. Press,

        427 U.S. at 554, 565 (rejecting prior restraint despite media coverage that was

        “pervasive,” “concentrated,” and “adverse” to a particular party). The district court

        must consider whether the “publicity, unchecked, would so distort the views of

        potential jurors that 12 could not be found who would, under proper instructions,

        fulfill their sworn duty to render a just verdict exclusively on the evidence

        presented in open court.” Neb. Press, 427 U.S. at 569 (emphasis added); see also

        Skilling, 561 U.S. at 384 (explaining that publicity must be “the kind of vivid,

        unforgettable information” that is “particularly likely to prejudice” to implicate the

        right to an impartial jury).

              B.     The District Court Entered the Gag Order Without Any Factual
                     Findings or Support.
              At the threshold, the Gag Order must be vacated because it is facially

        invalid: the district court failed to make the necessary findings to warrant such

        drastic relief. Whenever a trial court restrains First Amendment rights in a judicial

        proceeding, it must make specific findings to support the infringement and to

        explain why less restrictive measures would not suffice. Cf. In re Charlotte

        Observer, 882 F.2d at 853 (holding that, before closing proceedings, trial courts

        must “give interested parties prior notice and an opportunity to be heard before

        deciding the issue” and should “support any decision to close with reasons and

        findings of record, including why no less drastic alternatives to closure are
                                                   9

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 13 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018    Pg: 14 of 28               Total Pages:(14 of 117)




        feasible”); In re Wash. Post Co., 807 F.2d at 391 (emphasizing the need for a

        record “specific enough to enable the reviewing court to determine whether closure

        was proper”). The lack of a detailed explanation not only prevents the parties from

        understanding what conduct led to the gag order but also thwarts appellate review.

        See In re State-Record Co., Inc., 917 F.2d 124, 129 (4th Cir. 1990) (“[W]e have

        required specific reasons and findings on the record, because without such

        findings, de novo review is difficult.”) (internal citation omitted).

              This Court’s decision in Russell outlines the vigilant approach that a trial

        court should take before restricting the First Amendment rights of trial participants.

        In that case, the trial court prohibited potential witnesses in a high-profile criminal

        prosecution from speaking about their proposed testimony. Russell, 726 F.2d at

        1008. The court’s order defined a “potential witness,” leaving no doubt to whom

        the proscription applied. See id. at 1009. In a ten-page opinion accompanying the

        order, the court explained the basis for its decision, describing the “intense local

        and national publicity” surrounding the proceedings and recounting that the

        statements and representations made by the witnesses and their counsel would be

        “highly prejudicial” to the defendants. Id. And the court considered—and

        rejected—alternatives to the prior restraint, including “a change of venue” or “the

        possibility of using only jury control measures.” Id. At the end of its analysis, the

        trial court found “a reasonable likelihood that the defendants would be denied a

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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 14 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018     Pg: 15 of 28              Total Pages:(15 of 117)




        fair trial without proscribing certain of [the witnesses’] extrajudicial statements.”

        Id. at 1010. This Court upheld the legality of the order and denied mandamus

        relief. Id. at 1011.

               The district court took none of those essential steps here. The court did not

        enter the Gag Order on the motion of any party, nor did it seek out the parties’

        positions on the matter or hold a hearing on the issue. More critically, the court

        failed to identify the specific basis for the Gag Order except to refer vaguely to

        “prejudicial publicity observed in McKiver and McGowan.” Gag Order at 3. Yet

        the Gag Order did not identify that publicity, let alone explain how it was

        prejudicial or why the parties and witnesses should be muzzled to try to stop it.

        Even though the Gag Order suggests that publicity will risk tainting future

        potential jury pools, the district court never explained how it reached that

        conclusion or identified which side was likely to bear the risk of that prejudice.

        The lack of any such supporting record invalidates the Gag Order. See In re State-

        Record Co., 917 F.2d at 129 (“On the present record, we cannot adequately review

        the trial court’s finding that there is no adequate alternative to sealing the public

        record until such time as it no longer poses a threat to the selection of an impartial

        jury.”).




                                                   11

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 15 of 117
Appeal: 18-1762      Doc: 2-1       Filed: 07/06/2018   Pg: 16 of 28              Total Pages:(16 of 117)




              C.        Less Restrictive Alternatives Would Protect the Proceedings from
                        Potential Prejudice.
              A trial court must also consider less restrictive alternatives before

        subordinating the First Amendment rights of persons involved in judicial

        proceedings. See Neb. Press, 427 U.S. at 565 (rejecting prior restraint where “the

        record is lacking in evidence to support” the conclusion that alternative “measures

        might not be adequate”). The district court failed to address any such alternatives.

        Yet numerous alternatives exist to protect the impartiality of jury pools without

        severely restricting the speech rights of trial participants.

              Voir dire provides the “preferred safeguard against” pretrial publicity. In re

        Charlotte Observer, 882 F.2d at 855. Indeed, courts should have “confidence that

        voir dire can serve in almost all cases as a reliable protection against juror bias

        however induced.” Id. at 856 (emphasis added); see also Press-Enterprise Co. v.

        Superior Court of Calif., 478 U.S. 1, 15 (1986) (“Through voir dire, cumbersome

        as it is in some circumstances, a court can identify those jurors whose prior

        knowledge of the case would disable them from rendering an impartial verdict.”).

        Through that process, a court can assure “that jurors will set aside their

        preconceptions when they enter the courtroom and decide cases based on the

        evidence presented.” Skilling, 561 U.S. at 399 n.34.

                  The district court’s voir dire when empaneling jurors in McKiver and

        McGowan showed the effectiveness of that traditional safeguard. Nothing about
                                                   12

              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 16 of 117
Appeal: 18-1762    Doc: 2-1       Filed: 07/06/2018    Pg: 17 of 28              Total Pages:(17 of 117)




        jury selection in those cases suggested that it would not be an effective tool in

        future cases. That experience in the first two cases echoes the Supreme Court’s

        observation in Gentile v. State Bar, 501 U.S. 1030 (1991), that “[e]mpirical

        research suggests that in the few instances when jurors have been exposed to

        extensive and prejudicial publicity, they are able to disregard it and base the

        verdict upon the evidence presented in court.” Id. at 1054.

               More to the point, the Gag Order does not reflect that the district court even

        considered whether a more searching voir dire would address concerns down the

        line.5 And failing to consider that preferred alternative to a sweeping prior

        restraint gave it “much too short shrift.” In re Charlotte Observer, 882 F.2d at

        855.

               Although voir dire is the best prophylactic, other alternatives would also

        protect the parties’ trial rights without treading on their First Amendment

        freedoms. The vast majority of the members of the jury pool in the McKiver and

        McGowan trials did not report prior knowledge of the litigation. But if the district


               5
                 Even when a juror improperly conducted outside internet research in
        McGowan in violation of the district court’s instructions, the district court did not
        find that it warranted a mistrial. To the extent that episode motivated the Gag
        Order, the district court failed to match the remedy to the problem. A trial court
        cannot prevent members of the jury from violating their oaths by limiting the
        parties’ abilities to make public statements. Of course, because the district court
        provided no specific basis for entering the Gag Order, we do not know if the juror-
        misconduct issue in McGowan played any role in its issuance.

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               Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 17 of 117
Appeal: 18-1762   Doc: 2-1         Filed: 07/06/2018    Pg: 18 of 28               Total Pages:(18 of 117)




        court in future cases finds otherwise, it could expand the size of the pool as needed.

        The court could also consider sequestering the jury if it thought that necessary to

        ensure that outside communications do not influence their views of the case.

        (Murphy-Brown does not favor sequestration, however, in light of the other

        alternatives.) And barring the effectiveness of those remedies, the court could

        transfer venue to another district or division. The Gag Order did not consider any

        of those alternatives, let alone explain why they were not preferable to a multi-year

        prior restraint on the speech of the parties and trial participants.

              Finally, to the extent that the district court worried that attorneys’ statements

        would prejudice the potential jury pool, the court not only failed to identify any

        such statements, but it also overlooked the less restrictive measure imposed by

        North Carolina’s Rules of Professional Conduct. Rule 3.6(a) already prohibits a

        lawyer from making “an extrajudicial statement that the lawyer knows or

        reasonably should know will be disseminated by means of public communication

        and will have a substantial likelihood of materially prejudicing an adjudicative

        proceeding in the matter.” That standard (prohibiting statements that pose a

        “substantial likelihood of materially prejudicing” the proceeding) is far more

        narrowly tailored than the one imposed by the Gag Order (barring statements that

        “could interfere with a fair trial or prejudice any plaintiff, the defendant, or the

        administration of justice”). Compare N.C.R.P.C. 3.6(a) with Gag Order at 2.

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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 18 of 117
Appeal: 18-1762    Doc: 2-1      Filed: 07/06/2018    Pg: 19 of 28              Total Pages:(19 of 117)




        Relying on the Professional Rules to punish specific misconduct is consonant with

        the Supreme Court’s preferred method to “punish the few who abuse rights of

        speech after they break the law,” instead of “throttl[ing] them and all others

        beforehand.” Se. Promotions, 420 U.S. at 559.

              D.      The Gag Order Irreparably Harms First Amendment Freedoms.
              As noted above, “even a short-lived ‘gag’ order in a case of widespread

        concern to the community constitutes a substantial prior restraint and causes

        irreparable injury to First Amendment interests as long as it remains in effect.”

        Capital Cities Media, Inc. v. Toole, 463 U.S. 1303, 1304 (1983) (Brennan, J., in

        chambers). The “loss of First Amendment freedoms, for even minimal periods of

        time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347,

        373 (1976) (plurality opinion). Thus, “[v]iolations of first amendment rights

        constitute per se irreparable injury.” Johnson v. Bergland, 586 F.2d 993, 995 (4th

        Cir. 1978).

              The speech-stifling effect of the Gag Order was evident when the Wall

        Street Journal reported on the verdict in McGowan on June 29, shortly after the

        Gag Order issued. Valerie Bauerlein, Pork Giant Loses Essential Legal Battle in

        Manure Case, Wall Street Journal (June 29, 2018),

        https://www.wsj.com/articles/pork-giant-loses-essential-legal-battle-in-manure-

        case-1530314322 (Ex. 5). Murphy-Brown’s representatives, as the article noted,


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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 19 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018    Pg: 20 of 28                Total Pages:(20 of 117)




        “declined to comment, citing a gag order.” Id. The gag order not only precluded

        Murphy-Brown from identifying the many legal errors that led to the verdict but

        even from saying that it disagrees with the verdict and intends to appeal. In the

        meantime, the article reported how

                     Environmentalists cheered the verdict, saying it could
                     force a change in how hog manure is handled here. “In
                     the end, it would be much better for the swine industry to
                     replace all the lagoons and sprayfields so that our state’s
                     rural economy can grow with the new construction
                     activity that lagoon conversion would bring,” said Ryke
                     Longest, professor at Duke University’s law school.
        Id.

               The Gag Order thus prevents Murphy-Brown from defending itself while

        giving its critics free reign to publish factually erroneous claims and slanted

        opinions without rebuttal. Such one-sided treatment both violates Murphy-

        Brown’s free speech rights and jeopardizes the impartiality of a jury pool that is

        exposed to a lopsided message critical of Murphy-Brown’s business practices.

        III.   THE GAG ORDER IS UNCONSTITUTIONALLY VAGUE AND
               OVERBROAD.
               Separate from its First Amendment defects, the Gag Order should also be

        vacated because it is unconstitutionally vague in violation of the Due Process

        Clause of the Fifth Amendment. Due process requires fair notice of what the law

        prohibits. See Gentile, 501 U.S. at 1048. The use of general or vague terms in a

        court order violates that requirement if the reader must “guess at its contours.” Id.

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               Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 20 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018    Pg: 21 of 28              Total Pages:(21 of 117)




              In Gentile, the Supreme Court struck down a state bar rule prohibiting

        speech about a lawsuit that went beyond discussing the “general nature” of the

        defense “without elaboration.” Id. Because the terms “‘general’ and ‘elaboration’

        are both classic terms of degree . . . [t]he lawyer has no principle for determining

        when his remarks pass from the safe harbor of the general to the forbidden sea of

        the elaborated.” Id. at 1048-49.

              So too here. The Gag Order permits statements about “the general nature of

        an allegation or defense,” so long as the individual does so “without elaboration or

        any kind of characterization whatsoever.” Order at 3. The Gag Order allows an

        individual to explain “the contents or substance of any motion or step in the

        proceeding,” but that explanation must be “without any elaboration of any kind of

        characterization whatsoever.” Id. at 4. The Gag Order’s relative terms—general,

        substance, elaboration, characterization—defy fair notice. Just as in Gentile,

        therefore, an individual reading the Gag Order “has no principle for determining

        when his remarks pass from the safe harbor of the general to the forbidden sea of

        the elaborated.” 501 U.S. at 1049.

              The scope of the Gag Order is also unclear. The district court entered the

        Gag Order under the docket number for the McGowan case, but the caption lists all

        five Discovery Pool Cases. Then, when referring to “this litigation,” the Gag

        Order references all twenty-six private-nuisance cases. See Gag Order at 2 n.1.

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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 21 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018    Pg: 22 of 28               Total Pages:(22 of 117)




        And the Gag Order lasts “until the final verdict in these cases,” id. at 3, but the

        individuals covered by the order must not make prejudicial statements “relating to

        the trial, the parties or issues in this case,” id. So does the Gag Order apply to the

        five Discovery Pool Cases or all twenty-six lawsuits? The Gag Order does not say.

        That ambiguity chills the First Amendment rights of everyone involved in all

        twenty-six cases.

              The Gag Order also fails to make clear exactly to whom it applies. For

        example, it enjoins statements by “all potential witnesses,” but unlike the order in

        Russell, that term remains undefined and open-ended. Discovery has not yet

        proceeded in 21 of the 26 cases, so the pool of “all potential witnesses” is not yet

        known. The universe of individuals who must watch what they say remains

        undefined and unclear. Cf. United States v. King, 192 F.R.D. 527, 536 (E.D. Va.

        2000) (requiring service of a gag order on all those subject to its provisions).

              The Gag Order is plagued by other vague terms as well. Individuals may not

        make statements to “public communications media,” but what does that mean?

        Gag Order at 3. Does it mean traditional media outlets, like newspapers and

        television, or does it include anyone’s social media account? Does it matter if the

        social media account is public or private? Compounding that uncertainty, the

        proscription extends to statements “that a reasonable person would expect to be




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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 22 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018     Pg: 23 of 28                 Total Pages:(23 of 117)




        communicated to a public communications media.” Id. Does that prohibit

        conversations with persons who might be interviewed by bloggers or journalists?

              The Gag Order also restricts dissemination of information “which is not a

        matter of public record,” but it fails to explain what constitutes the “public record.”

        Id. at 3. Does the public record include only statements made to the court in these

        proceedings, or does it capture any information that is generally known to the

        public?

              Finally, the Gag Order is overbroad in scope and insufficiently limited in

        duration. See Tory v. Cochran, 544 U.S. 734, 738 (2005) (recognizing that an

        injunction without a sustained “plausible justification” “amounts to an overly

        broad prior restraint upon speech”). By covering all parties and “all potential

        witnesses,” the Gag Order applies not only to future trials but to trials that have

        already ended. In extreme cases when a gag order is necessary to protect the

        fairness of the proceeding, the order will expire when the jury returns its verdict.

        The Gag Order here purports to live on indefinitely until, apparently, the last trial

        is finished involving the last of the plaintiffs in the twenty-sixth case.

              Given that it will take years to finally resolve the trials and appeals in the

        twenty-six pending cases, the Gag Order will muzzle the parties and witnesses

        from publicly expressing their opinions about the correctness of the trial court’s




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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 23 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018   Pg: 24 of 28              Total Pages:(24 of 117)




        rulings, the impact on the pork industry, and the effect on the community and the

        State of North Carolina. That wildly overbroad prohibition cannot be sustained.

                                            CONCLUSION
              Such a long-lasting and open-ended restriction on the First Amendment

        rights of so many people is unprecedented and cannot stand. The Court should

        issue a writ of mandamus declaring the Gag Order unconstitutional and barring the

        district court from enforcing it.

                       STATEMENT REGARDING ORAL ARGUMENT
              Because the Gag Order at issue in this case is facially invalid and overbroad,

        lacking any factual record to support the extreme measure of an open-ended prior

        restraint, the Court should issue a summary order granting mandamus and vacating

        the Gag Order. If the Court is not inclined to issue a summary determination,

        Petitioner submits that the unprecedented nature of the Gag Order warrants oral

        argument to consider the significant constitutional issues presented.

              Dated: July 6, 2018                     Respectfully submitted,

                                                      /s/ Stuart A. Raphael

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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 24 of 117
Appeal: 18-1762   Doc: 2-1     Filed: 07/06/2018   Pg: 25 of 28             Total Pages:(25 of 117)




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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 25 of 117
Appeal: 18-1762      Doc: 2-1      Filed: 07/06/2018    Pg: 26 of 28           Total Pages:(26 of 117)




                                CERTIFICATE OF COMPLIANCE
                The undersigned certifies that:

                1.     This petition complies with the type-volume limitation of Fed. R.

        App. P. 21(d)(1) because the portion of the petition subject to that rule is 4,377

        words and therefore does not exceed the 7,800-word limit.

                2.     This petition complies with the typeface requirements of Fed. R. App.

        P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

        brief has been prepared in 14-point Times New Roman typeface using Microsoft

        Word.



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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 26 of 117
Appeal: 18-1762   Doc: 2-1        Filed: 07/06/2018     Pg: 27 of 28              Total Pages:(27 of 117)




                                  CERTIFICATE OF SERVICE
               I certify that on July 6, 2018, I caused true and correct copies of the Petition
        for a Writ of Mandamus to be served upon counsel for the parties and upon the
        District Court as follows:

        By Overnight Delivery:

              The Honorable W. Earl Britt
              United States District Court
              Eastern District of North Carolina
              310 New Bern Avenue
              Raleigh, NC 27601

        And Email to:

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              Staff Attorney to Senior U.S. District Judge W. Earl Britt
              United States District Court
              Eastern District of North Carolina
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              Anderson, et al. v. Murphy-Brown, LLC, 7:14-CV-183-BR

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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 27 of 117
Appeal: 18-1762   Doc: 2-1     Filed: 07/06/2018   Pg: 28 of 28           Total Pages:(28 of 117)




              Artis, et al. v. Murphy-Brown, LLC, 7:14-CV-237-BR
              Baker, et al. v. Murphy-Brown, LLC, 7:14-CV-227-BR
              Barton, et al. v. Murphy-Brown, LLC, 7:14-CV-218-BR
              Bennett, et al. v. Murphy-Brown, LLC, 7:14-CV-236-BR
              Blanks, et al. v. Murphy-Brown, LLC, 7:14-CV-219-BR
              Blow, et al. v. Murphy-Brown, LLC, 7:14-CV-232-BR
              Branch, et al. v. Murphy-Brown, LLC, 7:14-CV-200-BR
              Brown, et al. v. Murphy-Brown, LLC, 7:14-CV-245-BR
              Collier, et al. v. Murphy-Brown, LLC, 2:14-CV-56-BR
              Cromartie, et al. v. Murphy-Brown, LLC, 7:14-CV-238-BR
              Faison, et al. v. Murphy-Brown, LLC, 7:14-CV-229-BR
              Farrior, et al. v. Murphy-Brown, LLC, 7:14-CV-184-BR
              Fullwood, et al. v. Murphy-Brown, LLC, 7:14-CV-228-BR
              Gillis, et al. v. Murphy-Brown, LLC, 7:14-CV-185-BR
              C. Herring, et al. v. Murphy-Brown, LLC, 7:14-CV-233-BR
              E. Herring, et al. v. Murphy-Brown, LLC, 7: 14-CV -199-BR
              Humphrey, et al. v. Murphy-Brown, LLC, 7:14-CV-234-BR
              Lisane, et al. v. Murphy-Brown, LLC, 7:14-CV-201-BR
              McGowan, et al. v. Murphy-Brown, LLC, 7:14-CV-182-BR
              McKiver, et al. v. Murphy-Brown, LLC, 7:14-CV-180-BR
              McMillon, et al. v. Murphy-Brown, LLC, 7:14-CV-181-BR
              Miller v. Murphy-Brown, LLC, 7:14-CV-217-BR
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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 28 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 1 of 87           Total Pages:(29 of 117)




                                      Exhibit 1




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 29 of 117
Appeal: 18-1762   Doc: 2-2      Filed: 07/06/2018   Pg: 2 of 87             Total Pages:(30 of 117)
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                                                                      Page30
                                                                           1 of
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Appeal: 18-1762               Doc: 2-2                           Filed: 07/06/2018   Pg: 3 of 87             Total Pages:(31 of 117)
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                                                                            Page31
                                                                                 2 of
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Appeal: 18-1762     Doc: 2-2           Filed: 07/06/2018   Pg: 4 of 87                          Total Pages:(32 of 117)
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                    7:14-cv-00237-BR     Document 267 Filed
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                                                             06/27/18 Page
                                                                       Page32
                                                                            3 of
                                                                              of 4117
Appeal: 18-1762               Doc: 2-2                      Filed: 07/06/2018   Pg: 5 of 87                     Total Pages:(33 of 117)
                                                                         EXHIBIT 1



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                                                     176-1  Filed07/09/18
                                                                  06/27/18 Page
                                                                            Page33
                                                                                 4 of
                                                                                   of 4117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 6 of 87           Total Pages:(34 of 117)




                                      Exhibit 2




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 34 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 7 of 87           Total Pages:(35 of 117)
                                            EXHIBIT 2




                                 UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                       SOUTHERN DIVISION




            ____________________________
                                                      )
            JOYCE McKIVER, et al,                     )
                                                      )
                                   Plaintiffs         )
                                                      )
                             vs.                      )CASE NO. 7:14-CV-180-BR
                                                      )
                                                      )
            MURPHY-BROWN, LLC,                        )
                                                      )
                                                      )
                             Defendant                )
            ____________________________              )




                                     MONDAY, APRIL 2, 2018
                                   JURY TRIAL/JURY SELECTION
                              BEFORE THE HONORABLE W. EARL BRITT
                             SENIOR UNITED STATES DISTRICT JUDGE




                             MICHELLE A. McGIRR, RPR, CRR, CRC
                                   Official Court Reporter
                                United States District Court
                                  Raleigh, North Carolina
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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 35 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 8 of 87           Total Pages:(36 of 117)
                                            EXHIBIT 2                                        2




            APPEARANCES:



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              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 36 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 9 of 87          Total Pages:(37 of 117)
                                              EXHIBIT 2                                       3




       1               (Monday, April 2, 2018 commencing at 9:06 a.m.)

       2                                    P R O C E E D I N G S

       3

       4                     THE COURT:     Good morning, everyone.        The

       5    long-anticipated day has arrived.                 I hope everybody is ready.

       6                     MR. KAESKE:     So do I, Your Honor.

       7                     JUDGE BRITT:     I have a handful of stuff when I was

       8    coming in here and I left it somewhere.                  Go find it, Lauren.

       9    My laptop and a file.

      10                     (The Clerk providing items to the Court)

      11                     JUDGE BRITT:     Okay.     All right.     The first thing I

      12    want to do is go over with counsel the order in which we're

      13    going to proceed today once the jury comes in.                  I will begin,

      14    of course, by swearing the panel as a whole, which is part of

      15    the normal procedure.           Then I'll call the case for trial and

      16    introduce the parties that are here and the lawyers and then

      17    I will ask the jurors some questions designed to find out if

      18    they have any hardship that is materially different from

      19    their neighbor and for that purpose, the -- well, all the

      20    jurors are going to be seated on the first five rows -- and

      21    for that purpose, I've had Scott prepare me a chart.                    You

      22    can't have it because it's -- I want to know who I'm talking

      23    to there at the beginning and it includes the randomization.

      24    It would do away with the randomization so I'm sure you

      25    understand that, but neither side is going to get it.




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 37 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 10 of 87           Total Pages:(38 of 117)
                                              EXHIBIT 2                                        43




       1    relatives work at Smithfield.

       2                     JUDGE BRITT:     Okay.     That was the questions that

       3    you -- that you checked off, is that correct?

       4                     THE JUROR:     Yes, sir.

       5                     JUDGE BRITT:     Do you think because of that it would

       6    be difficult for you to be fair and impartial if you're

       7    selected, sir?

       8                     THE JUROR:     No, sir.

       9                     THE COURT:     You think in spite of the fact that a

      10    lot of your relatives work at Smithfield and you formerly

      11    lived in that area -- did you live near a hog farm?

      12                     THE JUROR:     Actually, yes.          It was maybe about

      13    20 feet from my house.

      14                     JUDGE BRITT:     I see.     I would say that's near.

      15                     All right.     Thank you very much.          You may have a

      16    seat.

      17                     THE COURT:                       .

      18                     THE JUROR:     Yes, sir.

      19                     JUDGE BRITT:     Did you answer any yes?

      20                     THE JUROR:     Yes, sir.

      21                     JUDGE BRITT:     Which ones?

      22                     THE JUROR:     I do believe I've heard about this

      23    case, a small story, before and I've heard of Murphy-Brown

      24    and I know somebody that's worked on a hog farm.

      25                     JUDGE BRITT:     All right.          Can you tell me the




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 38 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 11 of 87         Total Pages:(39 of 117)
                                              EXHIBIT 2                                      44




       1    source of your information about the case, if you say you've

       2    heard about it.

       3                     THE JUROR:     I believe it was a small story on the

       4    local news channel, WRAL.

       5                     JUDGE BRITT:     Would that have been in the last few

       6    days?

       7                     THE JUROR:     I think it was a couple weeks ago.            It

       8    wasn't in the last day or two.

       9                     JUDGE BRITT:     All right.        Well, after you heard

      10    that story, did you form or express any opinion as to the

      11    merits of the case, that is, one side or the other?

      12                     THE JUROR:     I kind of did.

      13                     JUDGE BRITT:     All right.        Well don't tell me how

      14    though.     Did you -- whatever you discovered about the case,

      15    do you think it would take some evidence on the part of the

      16    other side to remove that?

      17                     THE JUROR:     Yes, sir.

      18                     JUDGE BRITT:     I take it that you feel like because

      19    of what you have heard, it would be difficult for you to be

      20    fair and impartial if you're selected.

      21                     THE JUROR:     Yes, sir.

      22                     JUDGE BRITT:     All right.        You may have a seat.

      23                     THE COURT:                     .

      24                     THE JUROR:     No, Your Honor, I didn't check yes.

      25                     THE COURT:                             .




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 39 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 12 of 87           Total Pages:(40 of 117)
                                              EXHIBIT 2                                        60




       1    much.    You may have a seat.

       2                     On the next row,                           .

       3                     THE JUROR:     Yes, Your Honor.

       4                     JUDGE BRITT:     One and four.         Okay.   You've heard

       5    something about the case before coming to court today?

       6                     THE JUROR:     Yeah.     I think I heard something about

       7    it on the news just in passing.                Might not have been this

       8    one, but it was about a hog farm.

       9                     JUDGE BRITT:     Well, if it's in the last few days.

      10                     THE JUROR:     Been over a week, I think.

      11                     JUDGE BRITT:     Okay.     Well, whatever you heard, did

      12    you form or express any opinion about the matter?

      13                     THE JUROR:     Nah, I take all news with a grain of

      14    salt.

      15                     JUDGE BRITT:     And did you -- you haven't heard of

      16    Murphy-Brown in that same regard?

      17                     THE JUROR:     Yeah, I could be impartial.

      18                     JUDGE BRITT:     Regardless whatever you have heard,

      19    you haven't formed or expressed any opinion?

      20                     THE JUROR:     No.     Could you repeat the question.

      21                     JUDGE BRITT:     Have you formed or --

      22                     THE JUROR:     No.

      23                     JUDGE BRITT:     -- expressed any opinion --

      24                     THE JUROR:     No Your Honor.

      25                     JUDGE BRITT:     --as a result of what you heard?




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 40 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 13 of 87        Total Pages:(41 of 117)
                                               EXHIBIT 2                                     61




       1                      THE JUROR:     No.

       2                      JUDGE BRITT:     And you feel that you could be fair

       3    and impartial and base your verdict solely on the evidence

       4    that comes from the witness stand and my instructions to you

       5    on the law.

       6                      THE JUROR:     Yeah, I think so, Your Honor.

       7                      JUDGE BRITT:     Have a seat.

       8                                              .

       9                      THE JUROR:     I said yes to number four and number

      10    six.

      11                      JUDGE BRITT:     All right.       Can you tell me how you

      12    know about Murphy-Brown.

      13                      THE JUROR:     Just heard of the company.        Just in

      14    passing.          Don't know any details.

      15                      JUDGE BRITT:     How about number six.

      16                      THE JUROR:     Number six, my husband was a former

      17    employee of Smithfield Foods.                 He's been gone probably ten

      18    years or so.

      19                      JUDGE BRITT:     Do you think either of those factors

      20    would in any way interfere with your ability to be a fair and

      21    impartial juror in this case where Murphy-Brown is -- or

      22    Smithfield Foods are parties.

      23                      THE JUROR:     No, sir.

      24                      THE COURT:     Do you feel like you could listen to

      25    the evidence as it comes from the witness stand, my




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 41 of 117
Appeal: 18-1762   Doc: 2-2        Filed: 07/06/2018   Pg: 14 of 87          Total Pages:(42 of 117)
                                               EXHIBIT 2                                       67




       1    ourselves about a 10-minute recess and come back in.

       2                                     (Brief Recess)

       3                     JUDGE BRITT:      Can anybody tell me where plaintiffs'

       4    counsel is?

       5                     MR. ANDERSON:      I think I know where their room is.

       6    I can run back and get them.

       7                     JUDGE BRITT:      Glenna will go get them.

       8                  (Plaintiffs counsel entering the courtroom)

       9                     JUDGE BRITT:      All right.         Counsel, I'm going to go

      10    through the list and tell you the jurors that I have excused.

      11    This may -- it will include the ones that I excused earlier

      12    for -- under the first round.                And the others are ones I am

      13    excusing and I may not have it indicated on here which one I

      14    was excusing them under so you need to mark these on your

      15    list.

      16                     Number 10,                      is out.     Number 17,

      17              .      Number 19,                       .

      18                     MR. KAESKE:     Excuse me, sir.          Could you go a little

      19    slower.       I have to find them on the list, please.

      20                     JUDGE BRITT:      Absolutely.

      21                     MR. KAESKE:     Sorry.      I lost you right after               .

      22    Sorry.

      23                     JUDGE BRITT:      17.    Did you get 17?

      24                     MR. KAESKE:     We don't have numbers so I have to

      25    look for the names and that's why it took me a minute.




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 42 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 15 of 87                Total Pages:(43 of 117)
                                              EXHIBIT 2                                             68




       1                     JUDGE BRITT:       Oh, okay.     All right.                            .

       2                     MR. KAESKE:    Thank you, sir.

       3                     JUDGE BRITT:                           .       She was on the end

       4    of the first row.         Do you have her?

       5                     MR. KAESKE:    Yes, sir.       Thank you.

       6                     JUDGE BRITT:                               ,               ,

       7            ,                       .    I know that was one that was

       8    earlier.                        ,                  ,                     and

       9            .

      10                     Now I'll be glad to hear from you lawyers with

      11    respect to challenges for cause for any others who have

      12    answered the questions.

      13                     And Mr. Kaeske, I'll start with you.

      14                     MR. KAESKE:    Your Honor, I would like to make a

      15    suggestion, since it seems clearly like we have enough jurors

      16    so far -- well, first a question.                Are there more questions

      17    you're going to ask or is this the questions?

      18                     JUDGE BRITT:       Oh, Lord, there is a pile more

      19    questions I'm going to ask.

      20                     MR. KAESKE:    Okay.

      21                     JUDGE BRITT:       We're going to put 24 in the box.

      22                     MR. KAESKE:    Yes, sir.

      23                     JUDGE BRITT:       And then I'm going to ask questions

      24    and some of which will be the questions that you all

      25    submitted and then I anticipate it will take us another 30,




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 43 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 16 of 87        Total Pages:(44 of 117)
                                              EXHIBIT 2                                   120




       1                     JUDGE BRITT:     That's one.

       2                     THE CLERK:     Do you want to mark from this?         It

       3    might be easier.

       4                     JUDGE BRITT:     Thank you.       Let me go back and get

       5    that.

       6                     MR. ANDERSON:     Your Honor, we have Ms.                   who

       7    is right there.        Juror number 12.

       8                     JUDGE BRITT:     You can call them by numbers if -- if

       9    you don't have this.

      10                     MR. ANDERSON:     I don't have the numbers yet.

      11                     MR. KAESKE:                                 .

      12                     MR. ANDERSON:     Should be down in front.

      13             .

      14                     JUDGE BRITT:     That's two for the defendant.

      15                     I did not tell you all, but I assume you're going

      16    to exercise all your peremptories, but if you should happen

      17    not to, then I will --

      18                     MR. ANDERSON:     Go by your list.

      19                     JUDGE BRITT:     I'll be required to excuse until we

      20    get down to 12 and I would do so in the reverse order in

      21    which they're called.

      22                     MR. ANDERSON:     Okay.

      23                     JUDGE BRITT:     Just so you know what I'll do.            You

      24    can --

      25                     MR. KAESKE:                 .




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 44 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 17 of 87                       Total Pages:(45 of 117)
                                              EXHIBIT 2                                                  121




       1                     JUDGE BRITT:     That's three for the plaintiff.

       2                     MR. ANDERSON:     My third,                                .

       3                     JUDGE BRITT:     Okay.     That's three for the

       4    defendant.

       5                     MR. KAESKE:                 .

       6                     JUDGE BRITT:     Four for the plaintiff.

       7                     MR. ANDERSON:                       .        Number 16.

       8                     JUDGE BRITT:     Four for the defendant.

       9                     MR. KAESKE:                         .

      10                     JUDGE BRITT:     Did you see that --

      11                     MR. ANDERSON:                   .

      12                     JUDGE BRITT:     Okay.

      13                     MR. ANDERSON:                                          .

      14                     JUDGE BRITT:     You know we had an assistant U.S.

      15    Attorney here with the same name.                                   .

      16                     You have one more.

      17                     MR. KAESKE:                                    .

      18                     JUDGE BRITT:     You have one more.

      19                     MR. ANDERSON:                            .

      20                     JUDGE BRITT:     All right.             That's six each.             Hold

      21    on.   (Highlighting remaining juror names).

      22                     The ones who are highlighted are the ones you have

      23    approved.

      24                     MR. KAESKE:     Now what do I do.

      25                     JUDGE BRITT:     Just look at it.




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 45 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 18 of 87       Total Pages:(46 of 117)
                                               EXHIBIT 2                                  122




       1                      MR. KAESKE:     Okay.

       2                      JUDGE BRITT:     If you disagree with me, that means

       3    you have approved one --

       4                      MR. KAESKE:     I understand and I do.     (Tendering

       5    document to Attorney Anderson).

       6                      MR. ANDERSON:     That looks correct.

       7                      JUDGE BRITT:     Speak now or forever hold your peace.

       8    Thank you.

       9                           CONCLUSION OF BENCH CONFERENCE

      10                                        (Open Court)

      11                      JUDGE BRITT:     We now have our jury.     I'm going to

      12    call the names of those of you who have been excused from

      13    serving in this case.             I would ask that you wait until I

      14    complete the calling of all the names before you start filing

      15    out.     And when these jurors start filing out, the ones of you

      16    who remained in the courtroom may file out also because you

      17    will not be needed.

      18                      And all of you who are leaving will go with my

      19    thanks for making yourselves available for jury service and

      20    for coming here today and being questioned about this case.

      21    You have served your -- you have satisfied your obligation of

      22    serving on a jury in this district of the Federal Court for a

      23    period of two years so you won't be invited back during that

      24    time.     And if you happen to be, if you tell the folks down in

      25    the clerk's office that you served here on April the 2nd --




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 46 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 19 of 87          Total Pages:(47 of 117)




                                      Corrected
                                      Exhibit 3




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 47 of 117
Appeal: 18-1762    Doc: 2-2          Filed: 07/06/2018 Pg: 20 of 87                       Total Pages:(48 of 117)
                                          CORRECTED EXHIBIT 3




                Petitioner Murphy-Brown LLC originally filed an uncertified, realtime unedited
        transcript of the McGowan jury selection proceedings as Exhibit 3 to its Petition for Writ of
        Mandamus. Since filing the Petition, Petitioner has received a certified copy of the transcript
        from those proceedings. Excerpts from the certified transcript are being provided as Corrected
        Exhibit 3. The below table shows the locations of cited portions from the McGowan jury
        selection proceedings in Corrected Exhibit 3.

                                     Citation used in       Location in
                                          Petition        Corrected Ex. 3
                                          34:8-25              35:4-21
                                          35:1-25           35:22-36:20
                                          36:3-21             36:23-15
                                       36:24-37:17          37:18-38:11
                                       38:23-39:12           39:19-40:8
                                          41:3-19           41:22-42:17
                                         43:13-19             44:13-19
                                         47:9-48:4            48:8-49:2
                                         48:7-49:2            49:6-50:1
                                        52:14-53:3           53:15-54:4
                                        54:16-55:8           55:17-56:9
                                          90:3-13              93:8-18
                                        113:10-16          116:25-117:8




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 48 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 21 of 87            Total Pages:(49 of 117)
                                    CORRECTED EXHIBIT 3                                      1



                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
          ________________________________
                                           )
          McGOWAN, et al,                  )
                        Plaintiffs         )
                                           ) 7:14-CV-00182-BR
                      vs.                  )
                                           )
          MURPHY-BROWN, LLC,               )
                        Defendant.         )
          ________________________________)

                                        MAY 29, 2018
                                JURY SELECTION and VOIR DIRE
                             BEFORE THE HONORABLE W. EARL BRITT
                             SENIOR UNITED STATES DISTRICT JUDGE

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                               United States District Court
                                 Raleigh, North Carolina
                        Stenotype with computer-aided transcription


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 49 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 22 of 87            Total Pages:(50 of 117)
                                    CORRECTED EXHIBIT 3                                      2



       1                              PROCEEDINGS
       2             (Tuesday, May 29, 2018, commencing at 9:42 a.m.)

       3                 THE COURT:    Good morning, everyone.          Glad to see

       4   everybody again after what, about a month?

       5                 MR. ANDERSON:     Time flies.

       6                 THE COURT:    I hope you had a good Memorial Day

       7   weekend and are ready to proceed with this case.

       8                 There's a few matters we need to take up in the

       9   absence of the jury.

     10                  The Court has some motions in limine that it has not

     11    ruled on and I need to do that at this time.               Let me see, do we

     12    have everybody here just like we did before?

     13                  Is Ms. Mallette, was she here before?

     14                  MR. ANDERSON:     She was not, Your Honor.

     15                  THE COURT:    Glad to have you with us.

     16                  MS. MALLETTE:     Thank you, Your Honor.         Happy to be

     17    here.

     18                  THE COURT:    All right.      The first one I have here to

     19    rule on is the motion by the defendant to reconsider the

     20    decision of the Court allowing plaintiffs' motion for summary

     21    judgment on the applicability of the Farm Act defense.                    That

     22    motion is denied.

     23                  The next motion is defendant's motion in limine to

     24    exclude evidence of diagnoseable medical conditions.                    My ruling

     25    on that motion is the same as it was in the first trial.                    And I


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 50 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 23 of 87            Total Pages:(51 of 117)
                                    CORRECTED EXHIBIT 3                                    28



       1   damages.

       2                Plaintiffs are not claiming physical injury.                They

       3   are also not claiming damage to their property from the hog

       4   operation.

       5                Murphy-Brown contends that it is reasonable for it to

       6   contract with Joey Carter; that defendant and the operation

       7   comply with all existing regulations; that the operations are

       8   safe, and that the odors are properly managed.

       9                I believe one -- at least one of you jurors has a

     10    problem hearing and we have provided you with a device.                    Are

     11    you able to hear okay?

     12                 PROSPECTIVE JUROR:        Yes, sir.

     13                 THE COURT:     You can hear me?

     14                 PROSPECTIVE JUROR:        Yes, sir.

     15                 THE COURT:     Good.     Okay.   Thank you.

     16                 All right.     If one of the staff will hand out the

     17    sheets that I'm going to distribute to the jurors.

     18                 Members of the jury, my staff is going to hand you

     19    out a sheet and if you want to be reading it, you can.                   I'm

     20    going to go over it with you in a moment.              You'll be provided

     21    with a pencil to indicate on there if you want to, unless you

     22    already have one, do you have pencils, Amy?

     23                 MS. PETTY:     No.     Scott should have handed them out.

     24                 THE COURT:     Were you given pencils earlier?

     25                 ALL JURORS:     No.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 51 of 117
Appeal: 18-1762   Doc: 2-2      Filed: 07/06/2018 Pg: 24 of 87           Total Pages:(52 of 117)
                                     CORRECTED EXHIBIT 3                                   29



       1                THE COURT:     Maybe you can -- listen to this and then

       2   if anybody else wants -- needs a writing instrument, they can

       3   get it.

       4                I want you to mark on the line indicated there if

       5   this applies to you.        For example, the first question is:               Have

       6   you heard anything about this or similar so-called hog farm

       7   cases, including any that have already been tried?

       8                Now, if your answer to that question is yes, check

       9   that there.       You're not going to be passing these back in so if

     10    you can remember, that would be just as well, or if you already

     11    have a pen.       The way I'm going to do this is after I've gone

     12    through all the questions, I'm going to give you an opportunity

     13    to stand and tell me about your answers.

     14                 There's the man with the pencils.

     15                 The next thing is:        Do you know any of the attorneys?

     16    If you do, check that yes.

     17                 Third question is:        Do you know the plaintiffs or

     18    members of their families?

     19                 Now, as I've indicated -- what are the two

     20    plaintiffs' names, Counsel?

     21                 MR. KAESKE:      Elvis and Vonnie Williams, Your Honor.

     22                 THE COURT:     Members of the jury, I read out to you

     23    earlier the name of the case and that's Woodell McGowan and

     24    others, but this is just two of the plaintiffs who appear in

     25    that case and their names are Elvis and Vonnie Williams.                    They


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 52 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 25 of 87            Total Pages:(53 of 117)
                                    CORRECTED EXHIBIT 3                                    30



       1   live just outside of Beulaville down in Duplin County, North

       2   Carolina.

       3                Have any of you ever heard of Murphy-Brown, LLC?                  If

       4   you have, check that.

       5                Now I'm going to read to you a list of witnesses who

       6   may testify in this case.          The fact that I read the names does

       7   not necessarily mean that they will testify.               The purpose of

       8   reading this list is to find out if you know any of these

       9   people.     Now, if you -- if the name sounds familiar, resolve

     10    any doubt in favor of checking it and let's talk about it

     11    because if it's somebody you think you know we might ask some

     12    questions like where they live or that type thing that would

     13    clarify who it is and we make sure that we on the same page.

     14                 Now, listen to the list and if you need to make some

     15    notes, do so.

     16                 Shane Rogers, Canton, New York; James Merchant, Iowa

     17    City, Iowa, Steve Wing, who is deceased, but he'll be

     18    testifying by a depo vision that was taken before his death.

     19    Kendall Thu, DeKalb, Illinois; Thomas Hubbard, Evanston,

     20    Illinois; Jeffrey Tomberlin, College Station, Texas; Larry

     21    Baldwin, Morehead City; Donald Butler, Smithfield, Virginia;

     22    Tom Butler, Lillington; Corey Robinson, Dolores, Colorado; John

     23    Sargent, Warsaw, North Carolina; Gregg Schmidt, Warsaw; John

     24    Wathen, Tuscaloosa, Alabama; Kraig Westerbeek, Warsaw; Derl

     25    Walker, Kenansville; Al Hodge, Washington, North Carolina;


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 53 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 26 of 87            Total Pages:(54 of 117)
                                    CORRECTED EXHIBIT 3                                    31



       1   Richard Shiver, Wilmington; Regina Frederick, Warsaw; Henrietta

       2   Maddox, Beulaville; Ray Outlaw, Beulaville; Samantha Pickett,

       3   Chinquapin; Darlene Bynum, Albertson; Dwayne Boyce, Lendora

       4   Farland, Beulaville; Marria McGowan, Turkey, North Carolina;

       5   Mary Miller, Beulaville; Mary Jo Loftin, Mt. Olive; Glenn Wade,

       6   Beulaville; Serena Sumler, Beulaville; Oscar Ellis, Beulaville;

       7   Leslie Leatherberry, Beulaville; Becky Lancaster, Sylva, North

       8   Carolina; Roger Pickett, Jacksonville, North Carolina; Richard

       9   Pickett, Beulaville; Samuel Branch, Mt. Olive; Jacqueline

     10    Valerio, Beulaville; Thelma Collins, Beulaville; Sheila Wimmer,

     11    Beulaville; Nancy Lambertson, Rich Square, North Carolina;

     12    Elvis Williams and Vonnie Williams both, they're the

     13    plaintiffs, from Beulaville; Elain Carlton, Beulaville; Anthony

     14    Carlton, Beulaville; David Carter, Beulaville; Dreama Carter,

     15    Beulaville; Kenneth Carter, Beulaville; LaTonya Carter, Robert

     16    Carter, Beulaville, Sabena Carter, Beulaville; James Davis,

     17    Senior, Beulaville; Jacqueline Davis, Beulaville; James Davis,

     18    Junior, Beulaville; Linnill Farland, Beulaville; Georgia

     19    Farland, Beulaville; Woodell McGowan, Beulaville; Dorothy Hill,

     20    Pink Hill, North Carolina; Cartha Williams, Beulaville, NC;

     21    Barbara Gibbs, Beulaville; Dale Bollinger, Elizabethtown; Ray

     22    Campbell, Raleigh; Matias Vanotti, Florence, South Carolina;

     23    Debra Taylor, Boone, North Carolina; Joey Carter, Matthew

     24    Carter, Cynthia Watson, Rose Hill, North Carolina; Jesse

     25    Ladson, Warsaw; Dr. Pamela Dalton, Philadelphia, Pennsylvania;


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 54 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 27 of 87            Total Pages:(55 of 117)
                                    CORRECTED EXHIBIT 3                                    32



       1   Dr. Herman Gibb, Arlington, Virginia; Dr. Richard Houseman,

       2   Columbia, Missouri; William Kreutzberger, Charlotte; Dr.

       3   Nicolas Piggott, Raleigh; Dr. Keith Ramsey, Greenville, North

       4   Carolina; Dr. Today See, Raleigh; Roger Waldon, Chapel Hill;

       5   Dr. Jennifer Clancy, St. Albans, Vermont; Dr. Lowery A. Harper,

       6   Watkinsville, Georgia; Dr. Terry Coffey, Rose Hill; Kraig

       7   Westerbeek, Warsaw; Dr. Gregg Schmidt, Warsaw; Dexter Edwards,

       8   Beulaville; Al Searles, Warsaw; Lynwood Harper, Warsaw; Alex

       9   Kennedy, Warsaw; Timothy -- or Timmy Nethercutt, Warsaw; Joey

     10    Carter, Beulaville; Neil Russell Barbee, Beulaville; Justin

     11    Davis, Beulaville; Greg Drinkwater, Beulaville; Justin Blake

     12    Hunter, Beulaville; John Clayton Kenan, Beulaville; Bobby

     13    Lanier, Beulaville; Lee Roy Leatherberry, Beulaville; James

     14    Newkirk, Beulaville; Wanda Newkirk, Beulaville; Paige Campbell

     15    Pickett, Beulaville; Jeremy Street, Beulaville; Jennifer

     16    Street, Beulaville; Willie Street, Beulaville; Debbie Street,

     17    Beulaville; Wes Trejo, Beulaville; Leslie Leatherberry,

     18    Beulaville; Kim Whaley, Beulaville; Davis Brinson, Kenansville;

     19    Doug Grady, Mt. Olive; Dr. Austin Obasohan, Kenansville; Robert

     20    Ross, Beulaville; David Powell, Wilmington; Howard Hobson,

     21    Clinton; Christine Lawson, Raleigh; Gary Saunders, Raleigh;

     22    Zettie Williams, Magnolia, North Carolina; Dr. Lawrence Rouse,

     23    Kenansville; Mark Williams, Raleigh; Everett Murphrey,

     24    Farmville, North Carolina; Catherine Flowers, Raleigh; Michael

     25    Flowers, Raleigh; Oscar Ellis, Beulaville; Kevin Ellis,


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 55 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 28 of 87            Total Pages:(56 of 117)
                                    CORRECTED EXHIBIT 3                                    33



       1   Beulaville; Thelma Ellis, Beulaville and Corey Robinson,

       2   Dolores, Colorado.

       3                 You know some of those names I read more than once

       4   and that's because they are both plaintiffs' and defendant's.

       5   Some of them have the same witnesses listed.

       6                 Now, if you know any of those witnesses you need to

       7   check yes for question five so you can talk to me about that.

       8                 Number six:     Have you had any business dealings with

       9   or do you know anyone who works or has worked for WH Group

     10    Limited, Smithfield Foods Incorporated, Shuanghui International

     11    Holdings Limited, Murphy-Brown, LLC, Murphy Family Farms,

     12    Murphy Family Ventures, Prestage, Goldsboro Mills, Browns of

     13    North Carolina, Premium Standard Farms or Carroll's Foods.

     14                  Question seven:     Have you or do you own shares of

     15    stock in Murphy-Brown, Smithfield Foods, Inc., WH Group

     16    Limited, Shuanghui International Holdings Limited?

     17                  Have you ever lived on or been employed by a large

     18    farm?

     19                  Number nine:     Do you know anyone who has?           Of course

     20    that refers back to eight.

     21                  Number ten:     Do you have any negative opinions about

     22    lawyers, hog farming operations that would interfere with your

     23    ability to be a fair and an impartial juror in a trial of this

     24    action?

     25                  Number 11:     Have you or your family or close personal


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 56 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 29 of 87            Total Pages:(57 of 117)
                                    CORRECTED EXHIBIT 3                                    34



       1   friends had any association with the National Pork Producers

       2   Council, the National Pork Board, the North Carolina Pork

       3   Council or other similar organization.

       4                 Number 12:    Are you a vegan or vegetarian?

       5                 Number 13:    Do you belong to or contribute to PETA,

       6   which is People for the Ethical Treatment of Animals, or any

       7   other adversary groups like Sierra Club, River Keepers, the

       8   Natural Resources Defense Council, the North Carolina

       9   Environmental Justice Network, Rural Empowerment Association,

     10    Forbe Community Health, Southern Environmental Law Center or

     11    Water Keeper Alliance?

     12                  Number 14:    Do you feel that you cannot listen to the

     13    evidence and my instruction on the law and deliberate in good

     14    faith?

     15                  Number 15:    Do you know of any reason that you can't

     16    be fair and impartial?

     17                  Contemplate your answers there for a moment.               Make

     18    sure you check if you need to tell me about them.

     19                  I have a hand raised there.

     20                  PROSPECTIVE JUROR:      Can we ask for a bathroom break?

     21                  THE COURT:    All right.      Let's take a 15-minute

     22    recess.     Everybody come back right where you are.

     23           (The proceedings were recessed at 11:15 a.m. and reconvened

     24    at 11:30 a.m.)

     25                  THE COURT:    All right.      Got somebody ready with the


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 57 of 117
Appeal: 18-1762   Doc: 2-2      Filed: 07/06/2018 Pg: 30 of 87              Total Pages:(58 of 117)
                                     CORRECTED EXHIBIT 3                                      35



       1   microphone?       Let me ask you, anybody on the first row who

       2   answered any question yes, checked any question?                    All right.

       3   Pass the mic down to the lady.

       4                PROSPECTIVE JUROR:        My name is                           .    I

       5   heard of things like this on the news on and off.                    I don't know

       6   if it's specifically these plaintiffs, but I'm aware that

       7   there's been complaints about the odors.

       8                THE COURT:     Based on what you've heard from whatever

       9   source, did you discuss the matter with anyone?

     10                 PROSPECTIVE JUROR:        No, sir.

     11                 THE COURT:     Did you form or express any opinion about

     12    the merits or demerits of the case?

     13                 PROSPECTIVE JUROR:        Well, I feel for the people who

     14    have to live around those odors, but I also respect that an

     15    industry has a right to run a business, so...

     16                 THE COURT:     Well, do you feel that based on what

     17    you've heard, that you would have any difficulty being a fair

     18    and impartial juror, listening to the evidence as it comes from

     19    the witness stand, listening to the law as I define it for you,

     20    and rendering your verdict based solely on that?

     21                 PROSPECTIVE JUROR:        No, sir, I don't think so.

     22                 THE COURT:     Did you answer any other question?

     23                 PROSPECTIVE JUROR:        As yes?        No, sir.

     24                 THE COURT:     Pass the mic down to somebody else I

     25    believe raised their hand.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 58 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 31 of 87             Total Pages:(59 of 117)
                                    CORRECTED EXHIBIT 3                                     36



       1                PROSPECTIVE JUROR:       I also heard about the case on

       2   the news; but no, it would not interfere with my choice or

       3   decision.

       4                THE COURT:     Let me ask you another question, too.

       5   State your name, if you will.

       6                PROSPECTIVE JUROR:                            .

       7                THE COURT:     Was it from the news media?

       8                PROSPECTIVE JUROR:       Yes, sir.

       9                THE COURT:     After hearing whatever you heard, did you

     10    discuss the matter with anyone?

     11                 PROSPECTIVE JUROR:       No, sir.

     12                 THE COURT:     Did you form any opinion about it?

     13                 PROSPECTIVE JUROR:       No, sir.

     14                 THE COURT:     And I believe you already said you feel

     15    that it would not interfere with your ability to be a fair and

     16    impartial juror.

     17                 PROSPECTIVE JUROR:       That's correct.

     18                 THE COURT:     Did you answer any other question on the

     19    sheet?

     20                 PROSPECTIVE JUROR:       No, sir.

     21                 THE COURT:     Thank you, ma'am.

     22                 PROSPECTIVE JUROR:       Thank you.

     23                 THE COURT:     Second row.      Anybody on the second row?

     24    State your name, sir.

     25                 PROSPECTIVE JUROR:                                .


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 59 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 32 of 87            Total Pages:(60 of 117)
                                    CORRECTED EXHIBIT 3                                    37



       1                THE COURT:     Mr.               , which one did you answer?

       2                PROSPECTIVE JUROR:       The same as the other two, the

       3   question.

       4                THE COURT:     Where did you obtain your information?

       5                PROSPECTIVE JUROR:       Reading online about cases

       6   that -- that the cases exist.

       7                THE COURT:     All right.      And after you gained that

       8   information, did you discuss the matter with anyone?

       9                PROSPECTIVE JUROR:       No, sir.

     10                 THE COURT:     Did you form any opinion about it?

     11                 PROSPECTIVE JUROR:       No, sir.

     12                 THE COURT:     Do you feel that whatever you heard would

     13    interfere with your ability to be a fair and impartial juror if

     14    you're selected?

     15                 PROSPECTIVE JUROR:       No, sir.

     16                 THE COURT:     Pass the mic down unless you got another

     17    one.

     18                 PROSPECTIVE JUROR:                      .   I also answered

     19    number one yes for the same reason, just the news media

     20    coverage.

     21                 THE COURT:     I got to ask you these same questions.

     22    After you obtained whatever knowledge you obtained, did you

     23    discuss the matter with anyone?

     24                 PROSPECTIVE JUROR:       Just my spouse, Your Honor.

     25                 THE COURT:     Okay.    And did you form or express any


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 60 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 33 of 87            Total Pages:(61 of 117)
                                    CORRECTED EXHIBIT 3                                    38



       1   opinion about it with regard to --

       2                PROSPECTIVE JUROR:       I probably did, but it was only

       3   based on the information I heard on the news.

       4                THE COURT:     Do you feel that anything that you may

       5   have heard on the news created an impression on your part that

       6   you feel that it would take some evidence on behalf of the

       7   other party to remove?

       8                PROSPECTIVE JUROR:       No, sir.

       9                THE COURT:     Do you know of any reason why you feel

     10    you couldn't be fair and impartial?

     11                 PROSPECTIVE JUROR:       No, I do not.

     12                 THE COURT:     Is that the only question you answered?

     13                 PROSPECTIVE JUROR:       Yes, sir.

     14                 THE COURT:     Pass the mic down, please.

     15                 I believe the next one is the gentleman I met on the

     16    elevator this morning.

     17                 PROSPECTIVE JUROR:       Yes, sir.

     18                 THE COURT:     What is your name?

     19                 PROSPECTIVE JUROR:                        .

     20                 THE COURT:     Mr.          , which one did you check?

     21                 PROSPECTIVE JUROR:       Number four and number six.             In a

     22    previous employment I was sales manager for Ford Clinton and we

     23    sold fleet vehicles to Murphy Brown and Prestage Farms.

     24                 THE COURT:     Number six, you had business dealings?

     25                 PROSPECTIVE JUROR:       Yes, sir.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 61 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 34 of 87            Total Pages:(62 of 117)
                                    CORRECTED EXHIBIT 3                                    39



       1                THE COURT:     Do you feel that this past experience

       2   would in any way interfere with your ability to be a fair and

       3   impartial juror in a trial of this case?

       4                PROSPECTIVE JUROR:       I don't believe so, sir.

       5                THE COURT:     Living where you were, were you familiar

       6   with large hog farm operations?

       7                PROSPECTIVE JUROR:       Yes, sir, familiar with them

       8   because we did a lot of business with the area farmers.

       9                THE COURT:     Okay.

     10                 PROSPECTIVE JUROR:       Yes, sir.

     11                 THE COURT:     But you don't think any information you

     12    may have gained would in any way interfere with your ability to

     13    be fair and impartial?

     14                 PROSPECTIVE JUROR:       I don't believe so, no, sir.

     15                 THE COURT:     Do you know anything that would keep you

     16    from being fair and impartial if you're selected?

     17                 PROSPECTIVE JUROR:       No, sir.

     18                 THE COURT:     Anybody on the next row?

     19                 PROSPECTIVE JUROR:                           and I answered yes

     20    to question number one, I heard it on the media.

     21                 THE COURT:     And after hearing whatever you heard from

     22    the media, did you discuss the matter with anyone?

     23                 PROSPECTIVE JUROR:       I believe I discussed it with my

     24    husband at the time and my question to myself was which came

     25    first, the chicken or the egg?           But once the story ended, I


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 62 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 35 of 87            Total Pages:(63 of 117)
                                    CORRECTED EXHIBIT 3                                    40



       1   moved on, didn't think about it again.

       2                THE COURT:     Did you feel like you have formed any

       3   opinion on the matter as a result of what you heard?

       4                PROSPECTIVE JUROR:       No, I have not.

       5                THE COURT:     Do you know -- do you feel that it,

       6   whatever you heard, would in any way interfere with your

       7   ability to be fair and impartial in a trial of this case?

       8                PROSPECTIVE JUROR:       No, it would not.

       9                THE COURT:     Did you answer any other question?

     10                 PROSPECTIVE JUROR:       No, I did not.

     11                 THE COURT:     You may pass the mic down to the next

     12    one, whoever, if there is another one.               Anybody else on that

     13    row?

     14                 PROSPECTIVE JUROR:                        .   I answered yes to

     15    four, five and nine.

     16                 THE COURT:     Okay.    Four, five and nine.         All right.

     17    Four, tell me about your knowledge, just heard about them or do

     18    you know more about them?

     19                 PROSPECTIVE JUROR:       I work for a parent company and

     20    we deal with a lot of farmers.

     21                 THE COURT:     And so you're familiar with Murphy-Brown?

     22                 PROSPECTIVE JUROR:       Yeah.

     23                 THE COURT:     All right.      Who among the witnesses did

     24    you know?

     25                 PROSPECTIVE JUROR:       Tom Butler.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 63 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 36 of 87              Total Pages:(64 of 117)
                                    CORRECTED EXHIBIT 3                                      41



       1                THE COURT:     And how do you know Mr. Butler?

       2                PROSPECTIVE JUROR:       He lives on our system, he's got

       3   a microgrid on his farm, I've done a lot of work on his farm,

       4   sent crews to his farm, know him personally.

       5                THE COURT:     You know him personally?

       6                PROSPECTIVE JUROR:       Yes.

       7                THE COURT:     Do you feel that your knowledge of

       8   Mr. Butler would cause you to place greater weight or

       9   credibility on his testimony or lesser weight or credibility on

     10    his testimony than you would on the testimony of some witness

     11    you did not know?

     12                 PROSPECTIVE JUROR:       No, I would believe him.

     13                 THE COURT:     You would believe him?

     14                 PROSPECTIVE JUROR:       Sure.

     15                 THE COURT:     So you feel like it would -- whatever he

     16    said about it, you'd be inclined to believe?

     17                 PROSPECTIVE JUROR:       I would believe that he was

     18    telling the truth.

     19                 THE COURT:     Yeah, okay.       I believe I'm going to

     20    excuse you, sir.       You may step aside.           Thank you very much.

     21                 All right.

     22                 PROSPECTIVE JUROR:       It's                  .

     23                 THE COURT:     I see you there.

     24                 PROSPECTIVE JUROR:       I did answer yes to one, four,

     25    six and 13.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 64 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 37 of 87            Total Pages:(65 of 117)
                                    CORRECTED EXHIBIT 3                                    42



       1                THE COURT:     One, you heard something about it in the

       2   media?

       3                PROSPECTIVE JUROR:       Yes, probably radio and read it

       4   right in the paper.

       5                THE COURT:     And based on what you may have --

       6   whatever knowledge you gained by whatever media source, did you

       7   discuss the matter with anyone?

       8                PROSPECTIVE JUROR:       No, no, sir.

       9                THE COURT:     Did you form any opinion about the

     10    matter?

     11                 PROSPECTIVE JUROR:       I may have -- nothing lasting,

     12    no, no, sir.

     13                 THE COURT:     Okay.    And what else -- well, based on

     14    whatever you may have heard in the media, do you feel that it

     15    created in your mind an impression that would take some

     16    evidence on behalf of the other side to remove?

     17                 PROSPECTIVE JUROR:       No, sir.

     18                 THE COURT:     Now, which -- what's the next one you --

     19    number four?

     20                 PROSPECTIVE JUROR:       Number four.

     21                 THE COURT:     Tell me about your knowledge of

     22    Murphy-Brown.

     23                 PROSPECTIVE JUROR:       I work for Cargill and they're

     24    both a purchaser of soybeans from Murphy-Brown and they sell

     25    meal to Murphy-Brown.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 65 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 38 of 87            Total Pages:(66 of 117)
                                    CORRECTED EXHIBIT 3                                    43



       1                THE COURT:     All right.      So do you feel that

       2   experience would in any way affect your ability to be fair and

       3   impartial in a trial of this case?

       4                PROSPECTIVE JUROR:       No.

       5                THE COURT:     And six I believe you said.

       6                PROSPECTIVE JUROR:       Yeah.     Six.     I'm not -- I'm a

       7   production manager at Cargill's facility, but I do work in

       8   parallel with people that enter into contracts with several of

       9   those companies.

     10                 THE COURT:     Okay.    And do you feel that that

     11    experience would in any way cause you to find it difficult to

     12    be fair and impartial in a trial of this case?

     13                 PROSPECTIVE JUROR:       No, sir, I think I could be fair.

     14                 THE COURT:     And the final one was 13?

     15                 PROSPECTIVE JUROR:       Yes, sir.        I'm a member of the

     16    Sierra Club.

     17                 THE COURT:     All right, sir.

     18                 Do you feel like your membership in that club has

     19    affected your way of thinking to the extent that it would

     20    interfere with your ability to be fair and impartial in the

     21    trial of this case?

     22                 PROSPECTIVE JUROR:       No, sir.       I could just listen to

     23    the law.

     24                 THE COURT:     Do you know any reason -- number 15, you

     25    didn't check that one, I take it?


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 66 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 39 of 87            Total Pages:(67 of 117)
                                    CORRECTED EXHIBIT 3                                    44



       1                PROSPECTIVE JUROR:       I said no.

       2                THE COURT:     You may pass it to whoever else.

       3                PROSPECTIVE JUROR:                       .   I answered yes to

       4   one, four, and nine and 14.

       5                THE COURT:     And how did you -- you answered number

       6   14, you feel you cannot listen to the evidence and be fair and

       7   impartial?

       8                PROSPECTIVE JUROR:       I'm sorry.      I misunderstood.         I

       9   thought I'd be fair.

     10                 THE COURT:     So let's go back then and go in order.

     11    You say you checked one?

     12                 PROSPECTIVE JUROR:       Yes.

     13                 THE COURT:     Was the information you gained through

     14    the news media?

     15                 PROSPECTIVE JUROR:       Yes.

     16                 THE COURT:     And after gaining whatever knowledge you

     17    did gain, did you form any opinion about the matter with any

     18    one side or the other?

     19                 PROSPECTIVE JUROR:       Not really.

     20                 THE COURT:     Did you discuss the matter with anyone?

     21                 PROSPECTIVE JUROR:       No.

     22                 THE COURT:     You said you heard of Murphy-Brown?

     23                 PROSPECTIVE JUROR:       Yeah.     I'm assuming that's

     24    Wendell Murphy, part of the Murphy that -- I'm going to assume.

     25                 THE COURT:     I think it's a fair assumption.             The


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 67 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 40 of 87            Total Pages:(68 of 117)
                                    CORRECTED EXHIBIT 3                                    45



       1   Murphy name as used in this case, and it's several places down

       2   in number six, derive from Mr. Wendell Murphy.                I think

       3   everyone will agree to that.

       4                 Do you know him personally?

       5                 PROSPECTIVE JUROR:      No, sir.

       6                 THE COURT:    Is it just the fact you heard the name

       7   Murphy-Brown and others in the news media?

       8                 PROSPECTIVE JUROR:      Just over the years being a

       9   benefactor for NC State, owned rights to PNC, you know, naming

     10    rights and things like that.

     11                  THE COURT:    What else have you answered?

     12                  PROSPECTIVE JUROR:      Number nine.

     13                  THE COURT:    All right.      You know someone who lived on

     14    or been employed by a large hog farm?

     15                  PROSPECTIVE JUROR:      Just not those farms, but I do

     16    know one of the guys, I do work for his family, has a farm in

     17    Belvedere, you know, hog farm and chicken farm in Belvedere.

     18                  THE COURT:    In Belvedere?

     19                  PROSPECTIVE JUROR:      Yes, sir.

     20                  THE COURT:    Do you know what kind of production they

     21    have?

     22                  PROSPECTIVE JUROR:      They do chickens and hogs.            I've

     23    never been out there to see it.

     24                  THE COURT:    Do you feel that that friendship you have

     25    with whoever that gentleman is along or in combining with the


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 68 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 41 of 87            Total Pages:(69 of 117)
                                    CORRECTED EXHIBIT 3                                    46



       1   other things that you have cited here, your knowledge about

       2   Mr. Murphy and heard about the case, would in any way interfere

       3   with your ability to be fair and impartial?

       4                PROSPECTIVE JUROR:       I don't believe so, sir.           I think

       5   I'll be fair.

       6                THE COURT:     How about the next row?

       7                PROSPECTIVE JUROR:       One and nine.

       8                THE COURT:     Your name?

       9                PROSPECTIVE JUROR:                          .   I don't know

     10    anything about this particular case, but when I lived in Las

     11    Vegas there was a large case very similar to this.

     12                 THE COURT:     Did you gain whatever knowledge you knew

     13    about the Las Vegas thing from what you read in the news media?

     14                 PROSPECTIVE JUROR:       Yes.

     15                 THE COURT:     Any other sources?

     16                 PROSPECTIVE JUROR:       No.

     17                 THE COURT:     After receiving any knowledge you did

     18    about that matter, did you form or express any opinion about

     19    the merits of either side of the case?

     20                 PROSPECTIVE JUROR:       Yes, with my wife and sister and

     21    her husband.

     22                 THE COURT:     Did you form any opinion as a result of

     23    what you read that you think that would take some evidence or

     24    convincing on the part of the other side to remove?

     25                 PROSPECTIVE JUROR:       Well, my sister and her


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 69 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 42 of 87            Total Pages:(70 of 117)
                                    CORRECTED EXHIBIT 3                                    47



       1   husband -- I'm from Minnesota originally and they own a large

       2   hog farm in Minnesota, so I talked to both of them about the

       3   case in Las Vegas.

       4                 THE COURT:    Do you feel all of that would interfere

       5   with your ability to be fair and impartial in a trial of this

       6   case?     Be candid with yourself.

       7                 PROSPECTIVE JUROR:      Possibly, yeah.

       8                 THE COURT:    You may be excused.

       9                 PROSPECTIVE JUROR:      My name is                            .    I

     10    said yes to number six.

     11                  THE COURT:    Tell me about that.

     12                  PROSPECTIVE JUROR:      I have a coworker that owns a hog

     13    farm.     I believe his last name is on that sheet, Prestage.                   We

     14    really don't discuss it at work, but he does own a hog farm.

     15                  THE COURT:    Okay.    Is that coworker listed as a

     16    witness in this case?

     17                  PROSPECTIVE JUROR:      I don't know if he was or not.

     18    Prestage, Robert, goes by Bob Prestage at work.

     19                  THE COURT:    Where do you work?

     20                  PROSPECTIVE JUROR:      I work at American Airlines.

     21                  THE COURT:    Okay.    Do you feel that your knowledge of

     22    him would in any way have any impact on your feelings about

     23    this case separate and apart from any evidence you may hear?

     24                  PROSPECTIVE JUROR:      No, sir, we don't discuss it at

     25    work.     I just knew he owned one.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 70 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 43 of 87            Total Pages:(71 of 117)
                                    CORRECTED EXHIBIT 3                                    48



       1                THE COURT:     Was that the only one you checked?

       2                PROSPECTIVE JUROR:       Yes, sir, number six.

       3                THE COURT:     Do you feel that would in any way affect

       4   your ability to be fair and impartial?

       5                PROSPECTIVE JUROR:       No, sir, I would be fair.

       6                THE COURT:     Thank you, ma'am.        You may have a seat.

       7   Pass it on down.

       8                PROSPECTIVE JUROR:                       .   I answered yes to

       9   number one.

     10                 THE COURT:     Did you gain your knowledge through the

     11    news media?

     12                 PROSPECTIVE JUROR:       Yes, sir.

     13                 THE COURT:     And after gaining whatever knowledge you

     14    did, did you form or express any opinion about the matter?

     15                 PROSPECTIVE JUROR:       Yes, sir.

     16                 THE COURT:     Did whatever opinion you arrived at, was

     17    it sufficient that it would require some evidence or convincing

     18    on behalf of the other side to change your mind on it?

     19                 PROSPECTIVE JUROR:       Yes, sir.

     20                 THE COURT:     I take it then that you feel you couldn't

     21    be fair and impartial?

     22                 PROSPECTIVE JUROR:       I wouldn't say that, but based on

     23    the information that was presented in the articles I've read,

     24    I've formed an opinion knowing that it's based on the

     25    information that was available.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 71 of 117
Appeal: 18-1762   Doc: 2-2      Filed: 07/06/2018 Pg: 44 of 87            Total Pages:(72 of 117)
                                     CORRECTED EXHIBIT 3                                    49



       1                THE COURT:     All right.        You may step aside.        Thank

       2   you, ma'am.       Thank you for your candor.

       3                Anyone else in that row?

       4                PROSPECTIVE JUROR:        I'm                 .    I answered yes

       5   to one, five, six, nine and 13.

       6                THE COURT:     Number one, was your knowledge derived

       7   from the news media?

       8                PROSPECTIVE JUROR:        Yes.

       9                THE COURT:     After gaining whatever knowledge that you

     10    gathered there, did you form an opinion about the merits of the

     11    matter?

     12                 PROSPECTIVE JUROR:        No, I only read one article.

     13                 THE COURT:     Did you discuss the matter with anyone?

     14                 PROSPECTIVE JUROR:        My husband.     We read the news

     15    together.

     16                 THE COURT:     You do?      Good.

     17                 PROSPECTIVE JUROR:        Like I'm sitting on the couch

     18    reading, I found this interesting thing and he does the same

     19    thing.

     20                 THE COURT:     That's great.

     21                 I hope that didn't convey anything that I think there

     22    is anything wrong with that.           I think it's wonderful.

     23                 You feel as a result of anything you may have read

     24    there that it would interfere with your ability to be fair and

     25    impartial?


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 72 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 45 of 87            Total Pages:(73 of 117)
                                    CORRECTED EXHIBIT 3                                    50



       1                PROSPECTIVE JUROR:       No.

       2                THE COURT:     What was the next number?

       3                PROSPECTIVE JUROR:       Five.

       4                THE COURT:     Who do you know?

       5                PROSPECTIVE JUROR:       Dr. Ramsey, is he based out of

       6   Greenville, ECU Physicians, an older gentleman, rheumatologist?

       7   He was a doctor of mine.

       8                THE COURT:     Do you feel that you would be inclined to

       9   give the testimony of that, Dr. Ramsey, any greater weight or

     10    credibility or lesser weight or credibility than you would any

     11    other witness?

     12                 PROSPECTIVE JUROR:       No.     I've had so many

     13    rheumatologists.

     14                 THE COURT:     Okay.    What was the next one?

     15                 PROSPECTIVE JUROR:       Six.

     16                 THE COURT:     Which among those?

     17                 PROSPECTIVE JUROR:       I know people.       I grew up in

     18    Johnston County.       I grew up actually right near the big

     19    distribution plant that Smithfield has, and I've had a friend

     20    who was a hog farmer, or his parents were, growing up and they

     21    worked with Smithfield.

     22                 THE COURT:     Okay.    Do you -- all right.         What other

     23    did you check yes?

     24                 PROSPECTIVE JUROR:       Do I know anyone who has worked

     25    or owned a large hog farm?          Yes.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 73 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 46 of 87             Total Pages:(74 of 117)
                                    CORRECTED EXHIBIT 3                                     51



       1                THE COURT:     Anybody else --

       2                PROSPECTIVE JUROR:       They were actually in Chinquapin

       3   in Duplin County.       They don't own it anymore.             They do chickens

       4   and hogs, Rockey and Joan Mugley, their son Dustin is my best

       5   friend.

       6                THE COURT:     Okay.    Did you answer any others yes?

       7                PROSPECTIVE JUROR:       Thirteen.        I belong to PETA.

       8                THE COURT:     Okay.    Now, do you think that any of the

       9   factors which you have indicated, the yeses to the questions,

     10    standing alone or in combination with each other, would in any

     11    way impair your ability to be fair and impartial?

     12                 PROSPECTIVE JUROR:       Possibly.

     13                 THE COURT:     You may step aside.

     14                 Anyone else on that row?

     15                 PROSPECTIVE JUROR:                        .    I checked one,

     16    four, five and six.

     17                 THE COURT:     Tell me about four.            Did you learn about

     18    the matter through the news media?

     19                 PROSPECTIVE JUROR:       Partly.        I'm an environmental

     20    engineer and in the environmental consulting business so just

     21    aware of environmental issues in our state.

     22                 THE COURT:     Okay.    And did you read -- have you read

     23    media reports about the case or cases?

     24                 PROSPECTIVE JUROR:       No, not particularly this case,

     25    just environmental operations in the state.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 74 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 47 of 87            Total Pages:(75 of 117)
                                    CORRECTED EXHIBIT 3                                    52



       1                 THE COURT:    All right.       Have you formed or expressed

       2   any opinion about the matter?

       3                 PROSPECTIVE JUROR:      No, I have not.

       4                 THE COURT:    What other question did you say you --

       5                 PROSPECTIVE JUROR:      Number four, I've heard of

       6   Murphy-Brown; and number five, I think you listed Richard

       7   Shiver as a witness, if he's with the Department of

       8   Environmental Quality, if that's the same person, I just know

       9   of him being in the business.

     10                  THE COURT:    Is that the only witness?

     11                  PROSPECTIVE JUROR:      Yes.

     12                  THE COURT:    Let me ask you, do you feel that the fact

     13    that he -- you know him and where he works would cause you to

     14    give his testimony any greater weight or credibility or lesser

     15    weight or credibility than that of any other witness?

     16                  PROSPECTIVE JUROR:      No, it would not impact me, sir.

     17                  THE COURT:    And what other did you answer?

     18                  PROSPECTIVE JUROR:      Just number six, my engineering

     19    firm.     I worked with Murphy Farms -- I've been with the firm 13

     20    years, so probably 12 or 13, before I came to the firm, I

     21    didn't work directly with the people at the farm, didn't know

     22    what they were working on, but my firm did work with Murphy

     23    Farms.

     24                  THE COURT:    Okay.    Let me ask you:       What is your

     25    firm?


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 75 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 48 of 87            Total Pages:(76 of 117)
                                    CORRECTED EXHIBIT 3                                    53



       1                PROSPECTIVE JUROR:       It's S&ME Engineering here in

       2   Raleigh.

       3                THE COURT:     How long have you been there?

       4                PROSPECTIVE JUROR:       Thirteen years.

       5                THE COURT:     Did you check any other --

       6                PROSPECTIVE JUROR:       No.    Just one, four, five and

       7   six.

       8                THE COURT:     Okay.    Would any of the things that you

       9   told me in and of itself or in combination, do you feel any of

     10    that would interfere with your ability to be a fair and

     11    impartial juror?

     12                 PROSPECTIVE JUROR:       No, sir, I would be fair.

     13                 THE COURT:     Okay.    You may have a seat and pass the

     14    mic on to someone else.

     15                 PROSPECTIVE JUROR:                      , Your Honor.       I just

     16    checked off number one.

     17                 THE COURT:     Tell me, did you gain knowledge off the

     18    news media?

     19                 PROSPECTIVE JUROR:       Just the news media, yes, sir.

     20                 THE COURT:     After gaining whatever knowledge you

     21    gained, did you discuss the matter with anyone?

     22                 PROSPECTIVE JUROR:       No, sir.

     23                 THE COURT:     Did you form or express any opinion about

     24    the matter?

     25                 PROSPECTIVE JUROR:       No, sir.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 76 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 49 of 87            Total Pages:(77 of 117)
                                    CORRECTED EXHIBIT 3                                    54



       1                 THE COURT:    Do you feel that whatever you learned

       2   would in any way impair your ability to be fair and impartial

       3   in a trial of this case?

       4                 PROSPECTIVE JUROR:      No, sir.

       5                 THE COURT:    You may have a seat.

       6                 Pass it on to someone else.            Are we on the last row,

       7   now?

       8                 PROSPECTIVE JUROR:      My name is                    , and I

       9   have a possibility of two and five.

     10                  THE COURT:    Two, which attorney do you think you may

     11    know?

     12                  PROSPECTIVE JUROR:      I don't know her personally, but

     13    depending on how she spells her last name and where her family

     14    is from, we might be related.

     15                  THE COURT:    Who is that?

     16                  PROSPECTIVE JUROR:      Mattix.

     17                  THE COURT:    Which other one?

     18                  PROSPECTIVE JUROR:      It was a witness that last name

     19    was Mattix also.

     20                  MS. MALLETTE:     My last name is Mallette, not Mattix.

     21                  PROSPECTIVE JUROR:      I'm sorry.        I thought you talked

     22    about --

     23                  THE COURT:    M-A-D-D-I-X?

     24                  PROSPECTIVE JUROR:      No, M-A-T-T-I-X.

     25                  THE COURT:    She spells her name M-A-L-L-E-T-T-E.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 77 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 50 of 87            Total Pages:(78 of 117)
                                    CORRECTED EXHIBIT 3                                    55



       1                PROSPECTIVE JUROR:       Maybe that was one of the

       2   witnesses you stated was the last name Mattix, but I don't know

       3   how to spell it.

       4                THE COURT:     Anybody familiar with the witness I may

       5   have read?

       6                MR. KAESKE:     That name, I believe has -- the witness

       7   has two Ds.

       8                THE COURT:     M-A-D-D-O-X?

       9                MR. KAESKE:     Yes, sir.

     10                 THE COURT:     M-A-D-D-O-X.

     11                 PROSPECTIVE JUROR:       It's not a problem if it's not

     12    spelled that way.

     13                 THE COURT:     So you think you can be fair and

     14    impartial?

     15                 PROSPECTIVE JUROR:       Yes.

     16                 THE COURT:     Thank you, ma'am.        You may have a seat.

     17                 PROSPECTIVE JUROR:       My name is                               .

     18    Mine was number one.

     19                 THE COURT:     Did you gain your knowledge through the

     20    news media?

     21                 PROSPECTIVE JUROR:       Not really.      I just saw like an

     22    article scrolling through the paper.

     23                 THE COURT:     All right.       However you learned it and

     24    whatever you learned, did you form or express any opinion about

     25    the merits of the matter?


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 78 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 51 of 87            Total Pages:(79 of 117)
                                    CORRECTED EXHIBIT 3                                    56



       1                PROSPECTIVE JUROR:       No, sir.

       2                THE COURT:     Is that the only one you would have

       3   checked?

       4                PROSPECTIVE JUROR:       Yes, sir.

       5                THE COURT:     Is there anything about whatever you --

       6   knowledge you gained, do you think it would interfere in any

       7   way with your ability to be fair and impartial in a trial of

       8   this case?

       9                PROSPECTIVE JUROR:       No, sir.

     10                 THE COURT:     You may pass it on to the next one.

     11    Anybody else?

     12                 PROSPECTIVE JUROR:                       , and I checked one

     13    and ten.

     14                 THE COURT:     All right.      One is did you gain that

     15    through your -- you checked number ten?

     16                 PROSPECTIVE JUROR:       Yes, sir.

     17                 THE COURT:     I'm not even getting into it.            Excuse

     18    you.

     19                 PROSPECTIVE JUROR:       I'm sorry?

     20                 THE COURT:     I'm going to let you step aside.             I'm

     21    going to let you step aside.

     22                 PROSPECTIVE JUROR:       My name is                           .     I

     23    answered one and ten, half of only because I lived a short

     24    distance from a hog farm for awhile.

     25                 THE COURT:     Just a minute, don't get into it.              But


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 79 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 52 of 87            Total Pages:(80 of 117)
                                    CORRECTED EXHIBIT 3                                    57



       1   you checked ten "yes?"

       2                 PROSPECTIVE JUROR:        Yes.

       3                 THE COURT:     You may go as well.

       4                 Anybody on that last row?

       5           (No hands raised.)

       6                 THE COURT:     Okay.     Is that everybody that wants to be

       7   heard?

       8           (No hands raised.)

       9                 THE COURT:     Counsel, I can well imagine that some of

     10    the questions or comments the jurors made might generate

     11    questions on your part.         So if they make it to the next round

     12    if you will write that out or approach the bench to discuss

     13    that.     I can imagine that either way I might expect it.

     14                  Members of the jury, while you're here during this

     15    case you will no doubt have questions that you want answered,

     16    particularly about schedule or where the bathroom is or

     17    anything of that nature that don't relate to the case itself.

     18    There are a lot of people around that can answer those

     19    questions for you.         I already introduced Lauren Herrmann, my

     20    courtroom deputy.       Sitting to the left of me is Amy Condon,

     21    she's the court reporter.            Over here is Amy Petty and Melissa

     22    Morgans and Eric Steber, who are all part of my staff, and

     23    Mr. Bruce Holt, he's a court security officer.                And you will

     24    see others that are dressed similarly to Mr. Holt.                  So any time

     25    during the trial, if you have any question you want answered,


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 80 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 53 of 87            Total Pages:(81 of 117)
                                    CORRECTED EXHIBIT 3                                    92



       1   lagoons.

       2                 THE COURT:    Okay.     There will be issues of

       3   environmental engineering and technical feasibility.                    These

       4   issues must be decided based only on the evidence presented at

       5   the trial and not your personal expertise or experience.                    Do

       6   you think it will be difficult for you to do that?

       7                 PROSPECTIVE JUROR:       Yes, I can do that.

       8                 THE COURT:    The way I asked the question was:              Do you

       9   think it would be difficult for you to do that?

     10                  PROSPECTIVE JUROR:       No, no, no.     I can be fair and

     11    impartial.

     12                  THE COURT:    All right.      Your firm has been hired both

     13    by the defendant and this law firm to consult in environmental

     14    issues, would you be uncomfortable rendering a verdict against

     15    them?

     16                  PROSPECTIVE JUROR:       No, I would not.

     17                  THE COURT:    Okay.     Thank you very much.

     18                  MR. KAESKE:    Your Honor, would I be able to follow up

     19    with Ms.             ?

     20                  THE COURT:    No.     You can approach the bench.

     21                  MR. KAESKE:    Thank you, Your Honor.

     22            (Bench conference held off the record.)

     23                  THE COURT:    Ms.             , let me ask you again.             You

     24    have expressed some sympathies for people living near a hog

     25    farm.     Do you feel that in spite of those feelings that you can


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 81 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 54 of 87            Total Pages:(82 of 117)
                                    CORRECTED EXHIBIT 3                                    93



       1   be fair and impartial in the trial in this case, rendering your

       2   verdict based solely on the evidence that comes from the

       3   witness stand and my instructions to you on the law?

       4                PROSPECTIVE JUROR:        Yes, sir, I think so, yes, sir.

       5                THE COURT:     All right.      Thank you.

       6          (Bench conference held on the record.)

       7                THE COURT:     The defendant makes --

       8                MR. ANDERSON:        Murphy-Brown challenges the juror for

       9   cause.    She disclosed in the first question and again that she

     10    comes to court with information she learned --

     11                 MR. KAESKE:     I'm just saying if she said she can be

     12    fair, if that's the standard, then I think they need to use a

     13    strike on her.

     14                 THE COURT:     I haven't made up my mind.

     15                 MR. KAESKE:     Yes, sir.      That's what I would say.           I

     16    think she says she can be fair.           Everybody has ideas.

     17           (Bench conference concluded.)

     18                 THE COURT:     We'll seat another juror.

     19                 Ms.            , we're going to let you step aside.

     20    Thank you very much for coming and making yourself available

     21    for jury service.

     22                 Madam Clerk, call an additional juror.

     23                 THE CLERK:                     .

     24                 THE COURT:     Mr.        , do you have your cheat sheet?

     25                 PROSPECTIVE JUROR:        Yes, sir.


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 82 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018 Pg: 55 of 87            Total Pages:(83 of 117)
                                    CORRECTED EXHIBIT 3                                  116



       1   took offense at me telling a witness to answer the question.                      I

       2   really don't see how you found anything offensive about that,

       3   but if you did, the Fourth Circuit can say so.

       4                I commend you on standing up for what you believe in

       5   and arguing with me and -- but by the same token, I've got to

       6   tell you that I think you're getting close to the edge.

       7                MR. ANDERSON:      Yes, sir.     With all due respect, I

       8   have a great deal of respect for the judicial system and for

       9   the jury process, trying to do everything I can, as I'm sure

     10    the Court is, to see to a fair trial.

     11                 If I could have a moment because based on what the

     12    Court has done, I --

     13                 THE COURT:     You can have as much time as you want.

     14                 MR. ANDERSON:      Thank you.

     15           (Pause in the proceeding.)

     16                 THE COURT:     Mr. Anderson, you ready?

     17                 MR. ANDERSON:      Yes, Your Honor.       Let me make sure I

     18    have the right juror number.           Your Honor, we would strike juror

     19    number 14, Mr.                  .

     20                 THE COURT:     All right.      I'm going to call the ones

     21    that I think have survived my rulings and the challenges by the

     22    parties, and I'm doing a lot of this to make sure that the

     23    record reflects it right.           So listen carefully.

     24                 The following jurors will be seated:

     25                                                     -- I'm beginning on the


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 83 of 117
Appeal: 18-1762   Doc: 2-2           Filed: 07/06/2018 Pg: 56 of 87                   Total Pages:(84 of 117)
                                          CORRECTED EXHIBIT 3                                         117



       1   back row.                                                 ;                               ;

       2                     ;                      .

       3                On the second row, middle row:                                          ;

       4          ;                        ;                     and                        .

       5                On the outside row:                                  ;                       , and

       6                         .

       7                Does anybody challenge the correctness of what I've

       8   stated?

       9                MR. KAESKE:             No, sir, Your Honor.

     10                 THE COURT:             All I'm asking is if you agree or

     11    disagree that I have correctly recorded what the rulings were,

     12    not that you agree with the rulings.

     13                 MR. ANDERSON:             You read Ms.                   ; is that correct?

     14                 THE COURT:             I'm sorry?

     15                 MR. ANDERSON:             I think I heard the answer that you

     16    did read out Ms.                     's name?

     17                 THE COURT:             Yes, yes.      On the back row:

     18                                ;                         ;                          ;

     19           .

     20                 On the middle row:                               ;                                ;

     21                      ;                          and                       .

     22                 On the front row:                                ;                          and

     23                          .     I believe that makes 12.

     24                 MS. CHECKOVICH:             Your Honor, I'd like to note for the

     25    record that we would, once again, request that the Court strike


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 84 of 117
Appeal: 18-1762    Doc: 2-2    Filed: 07/06/2018 Pg: 57 of 87            Total Pages:(85 of 117)
                                    CORRECTED EXHIBIT 3                                  118



       1   the jury and start over with a new venire or a any alternative

       2   grant in this trial based on the improper grant of a Batson

       3   challenge where the plaintiffs have shown no intentional

       4   discrimination and based on the Court's improper remedy in not

       5   striking the venire and starting over with jury selection.

       6                 THE COURT:    Okay.    Motion denied.

       7                 Can I get an answer out of you whether I correctly

       8   recorded after the rulings?

       9                 MR. ANDERSON:     Yes, I apologize.        I asked for

     10    clarification on one juror but to the best of my knowledge you

     11    have.

     12                  THE COURT:    Okay.    And Mr. Kaeske, you said you

     13    agreed?

     14                  MR. KAESKE:     Yes, sir.

     15                  THE COURT:    Bring the jury back in.

     16    (The prospective jury entered the courtroom at 4:00 p.m.)

     17                  THE COURT:    Members of the jury, I apologize for the

     18    lengthy recess.      I assure you that the Court was busy in

     19    talking to counsel about things that I have to decide outside

     20    of your presence.

     21                  Having arrived at the decisions that the Court was

     22    required to rule on and exercising the challenges that the

     23    parties are entitled by law to have, the following jurors have

     24    been excused from the trial of this case.              And when I -- if you

     25    will wait until I have called all names before you get up, and


              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 85 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 58 of 87          Total Pages:(86 of 117)




                                      Exhibit 4




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 86 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 59 of 87          Total Pages:(87 of 117)
                                            EXHIBIT 4                                        1




                                 UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                       SOUTHERN DIVISION


            ____________________________
                                                      )
            WOODELL McGOWAN, et al.,                  )
                                                      )
                                   Plaintiffs,        )
                                                      )
                             vs.                      )CASE NO. 7:14-CV-182-BR
                                                      )
                                                      )
            MURPHY-BROWN, LLC,                        )
                                                      )
                             Defendant.               )
            ____________________________              )


                                    WEDNESDAY, JUNE 13, 2018
                                           JURY TRIAL
                               BEFORE THE HONORABLE W. EARL BRITT
                             SENIOR UNITED STATES DISTRICT JUDGE



                                         REPORTER'S NOTE:




                       This trial transcript is being provided in rough

            draft form.      Please be aware that there will be discrepancies

            regarding page and line number when comparing the rough draft

            and the final certified transcript.               Also please be aware

            that the uncertified rough draft transcript may contain

            untranslated steno, misspelled proper names, incorrect or

            missing Q/A symbols or punctuation, and/or nonsensical

            English word combinations.           All such entries will be

      25    corrected on the final, certified transcript.




              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 87 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 60 of 87           Total Pages:(88 of 117)
                                              EXHIBIT 4                                         2




       1               (Wednesday, June 13, 2018 commencing at 9:27 a.m.)

       2                                   P R O C E E D I N G S

       3

       4                                      (In chambers)

       5                     REPORTER'S NOTE:      PRESENT:         Mona Lisa Wallace,

       6    Jocelyn Mallette, Mark Anderson, Mike Kaeske, Tennille

       7    Checkovich, Lauren Herman and Amy Petty.

       8                     THE COURT:    I have called you in here to report to

       9    you some information which I have just obtained and which is

      10    that one of the jurors asked -- happened to bump in to Scott

      11    Cannon who'S the jury administrator this morning and told

      12    Scott that he needed to talk to him.                    And Scott said, if you

      13    want to talk about procedure, I can talk about that but I

      14    can't talk to you about substance of the case.                    And so he

      15    said, well, it may get into both.                So Scott, before he let

      16    the guy talk at all, called a court security officer over to

      17    be present, at which time the juror, Mr.                       , number 4 in

      18    the front row, reported that another juror had been going out

      19    and doing research and coming back and reporting to the other

      20    jurors such things as the fact that you are an out of state

      21    attorney, the results of the first trial, the legislation

      22    that has been introduced by the General Assembly.                     That's

      23    about as far as I got.

      24                     Of course, I realized at that point it was serious

      25    enough that I needed to do a lot more and my proposed



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 88 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 61 of 87           Total Pages:(89 of 117)
                                               EXHIBIT 4                                         3




       1    procedure is to ask Mr.                    to come back here now before us

       2    and have him to tell us whatever it was he was going to tell

       3    Scott and I would invite your -- well, at some time we need

       4    to go back in the courtroom about it, but I thought at the

       5    outset, that it would be best to do it in here because Mr.

       6    Gaus may be intimidated by us speaking in the big open

       7    courtroom with all the people out there.                     But at some time I

       8    need to go back in there and make a record.

       9                      And then I think -- and this has all happened so

      10    fast -- I think I probably need to call the jurors in one by

      11    one to get different versions as to what has happened and

      12    then finally at the end, call in the juror, whoever it might

      13    be, that is supposed to have done this and then, after that,

      14    depending on what's said, looking to me like it probably

      15    means I have no choice but to declare a mistrial, but we'll

      16    see.

      17                      MR. ANDERSON:     Yes.

      18                      THE COURT:    Mr. Kaeske.

      19                      MR. KAESKE:     I would ask that -- obviously I'm

      20    trying to react as quickly as I can.                     I would ask that we

      21    not -- that we be mindful of the possibility or maybe even

      22    the likelihood that there is not a need for a mistrial and

      23    that we do what we can do to protect the integrity of the

      24    trial that we've got so far to the extent that we can.                        My

      25    concern would be -- and I don't know the law, I don't know



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 89 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 62 of 87           Total Pages:(90 of 117)
                                              EXHIBIT 4                                        18




       1    where all the people are out there.                 And there is only two

       2    lawyers here, the two main lawyers.

       3                     THE JUROR:    Good morning.        I didn't see you.

       4                     MR. ANDERSON:     We're not really hiding back here.

       5                     THE COURT:    And Michelle, of course, the court

       6    reporter.        Now everything I say has to be on -- and you

       7    say --

       8                     THE JUROR:    Yes, sir.

       9                     THE COURT:    -- has to be on the record.            So first

      10    let me ask you, it's been brought to my attention that there

      11    has been some discussion back in the jury room about

      12    information that someone has been receiving on the Internet.

      13    Have you heard any discussion about that?

      14                     THE JUROR:    The only thing I have heard was -- it

      15    was goats -- fainting goats.

      16                     THE COURT:    About what?

      17                     THE JUROR:    Fainting goats.           It's a joke about some

      18    goats or whatever that was fainting.                    Goats that faint when

      19    they are afraid or whatever.

      20                     THE COURT:    Have you heard anybody refer to having

      21    done some research on the Internet and found out anything

      22    about, for example, the lawyers?

      23                     THE JUROR:    I did hear that one of the lawyers was

      24    from Texas or something like that.

      25                     THE COURT:    Okay.     And did you hear any other



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 90 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 63 of 87         Total Pages:(91 of 117)
                                              EXHIBIT 4                                      19




       1    discussion --

       2                     THE JUROR:    Not to my knowledge.

       3                     THE COURT:    -- about what somebody may have found

       4    out on the Internet?

       5                     THE JUROR:    No, I haven't.

       6                     THE COURT:    Nothing about other trials that may

       7    have been conducted --

       8                     THE JUROR:    No, sir.      No, I haven't.

       9                     THE COURT:    Nothing about what the North Carolina

      10    legislature may be doing?

      11                     THE JUROR:    No, sir.

      12                     THE COURT:    Okay.

      13                     THE JUROR:    Only that I did hear -- I heard

      14    something about -- something about lawsuits or whatever.                      I

      15    did hear something about lawsuits and that was, like,

      16    yesterday.        Somebody said something about lawsuits, but I

      17    don't know what the details were on that.

      18                     THE COURT:    Have you heard anything in this case

      19    that you feel would make it -- would interfere with your

      20    ability to be fair and impartial in the trial?

      21                     THE JUROR:    No, sir.

      22                     THE COURT:    Nothing you've heard has caused you to

      23    suddenly and somehow favor one side or the other?

      24                     THE JUROR:    No, sir.      Not at all.

      25                     THE COURT:    All right.       And you wracked your memory



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 91 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 64 of 87          Total Pages:(92 of 117)
                                              EXHIBIT 4                                       20




       1    now and that's all you can tell me about it?

       2                     THE JUROR:     Yes, sir.

       3                     THE COURT:     All right.      I thank you.

       4                     THE JUROR:     You're welcome.

       5                     THE COURT:     I'm going to let you go back and our

       6    clerk will carry you back to the jury room.

       7                     THE JUROR:     Okay.

       8                     THE COURT:     Go through that door there.

       9                     THE JUROR:     Okay.    Thank you.

      10            (Juror #1                       escorted out of chambers)

      11                     THE COURT:     Just hold up a minute, Lauren.

      12                     Okay.   Mr. Kaeske.

      13                     MR. KAESKE:     Your Honor, I was just going to say,

      14    it seems from what Mr.

      15                     MS. HERMANN:                     .

      16                     MR. KAESKE:     From what Mr.            said, it's

      17    possible -- maybe even likely -- that some or more of the

      18    jurors haven't heard anything.               And so I would -- in order to

      19    protect, like I said, what might be the integrity of the jury

      20    going forward with -- or all of the jury that we do it -- the

      21    questioning in such a way that they not be -- it not be

      22    suggested rather than asked whether and what they've heard.

      23    Of course, you need to find out everything, but I just wonder

      24    if there is a way to do it so that they don't know --

      25                     THE COURT:     Well, do you feel that you lawyers



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 92 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 65 of 87        Total Pages:(93 of 117)
                                              EXHIBIT 4                                     25




       1    Michelle, who's the court reporter -- I have to make a record

       2    of everything -- and the two lawyers who you know back there.

       3                     MR. ANDERSON:       Good morning.

       4                     THE COURT:    And Lauren, of course.       And I want you

       5    to relax and know that the only reason I've asked you to come

       6    back here is that I have to assure myself that anything that

       7    goes on in the jury room does not in any way bring any

       8    outside information in that might affect the jury.                     Having

       9    said that, have you heard any discussion by other jurors

      10    about doing any Internet research about the case or about

      11    individuals or about any other part of it?

      12                     THE JUROR:    Not about the case.

      13                     THE COURT:    Have you heard some of them say

      14    anything about Internet research?

      15                     THE JUROR:    No.     I mean, like with dogs, like

      16    animal stuff, not anything related to the case itself.

      17                     THE COURT:    So have you -- okay.      And you can't

      18    recall any discussion at all about -- by anybody about

      19    anything about this case or other cases or the legislature or

      20    North Carolina --

      21                     THE JUROR:    Not anybody doing research.         I know the

      22    discussion about the bill that may or may not have been

      23    passed, that was ongoing, but not anybody that actually was

      24    researching it or trying to --

      25                     THE COURT:    Tell me more about that.



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 93 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 66 of 87        Total Pages:(94 of 117)
                                              EXHIBIT 4                                     26




       1                     THE JUROR:    Just that the bill that was going

       2    through the Senate related to the farm.                 I don't know the

       3    details myself because I haven't looked, that there was

       4    something like that going on and whether that may or may not

       5    have been passed.         I heard some discussion about that but I

       6    wasn't involved in the discussion to know what the results

       7    were.    But other than that, not anything that's --

       8                     THE COURT:    You heard any discussion of -- anybody

       9    mention any names of any lawyers?

      10                     THE JUROR:    Huh-uh, no.

      11                     THE COURT:    Well, whatever you've heard, do you

      12    feel that it would in any way impair your ability to be fair

      13    and impartial?

      14                     THE JUROR:    No.

      15                     THE COURT:    All right.       I'm going to let you go

      16    back to your jury room and ask if you will to please not

      17    discuss with the other jurors anything that we've said in

      18    here.

      19                     THE JUROR:    Yes.

      20                     THE COURT:    Thank you.

      21                     THE JUROR:    Thank you.

      22            (Juror #3                          escorted out of chambers)

      23                     THE COURT:    Maybe I'll stack around a little bit.

      24    Bring in Mr.                                     .

      25      (Juror #7                                     ., escorted into chambers)



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 94 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 67 of 87           Total Pages:(95 of 117)
                                               EXHIBIT 4                                        27




       1                      THE COURT:    Come in, Mr.                 .

       2                      THE JUROR:    How are you?

       3                      THE COURT:    I'm fine.       How are you this morning?

       4                      THE JUROR:    I'm doing okay.

       5                      THE COURT:    Are you awake?

       6                      THE JUROR:    I am awake.        I got caffeine and

       7    everything this morning.

       8                      THE COURT:    Okay.     I'm just kidding you.         I know

       9    how hard it is to stay awake sometimes.

      10                      THE JUROR:    I don't know how you do it.

      11                      THE COURT:    The reason I've asked you to come back

      12    here -- and you'll notice that there is nobody here except

      13    the court reporter and Lauren and the two main lawyers back

      14    there.      You remember them.

      15                      THE JUROR:    Yep.

      16                      THE COURT:    And I just called you back, some things

      17    have come to my attention this morning that's caused me to

      18    feel like I need to question the jurors privately about some

      19    things and the reason -- that's the reason I've asked you

      20    back here.         And having said that, have you heard any

      21    discussion by any of the jurors about the results of any

      22    research on the Internet?

      23                      THE JUROR:    No.

      24                      THE COURT:    It's important you be level with me

      25    now.



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 95 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 68 of 87        Total Pages:(96 of 117)
                                              EXHIBIT 4                                     28




       1                     THE JUROR:    Right, right, right.        I'm trying to

       2    think back.        No, not really.        Very little discussion -- like

       3    kind of like different things, like, I guess, like small

       4    comments and stuff like that, but nothing like -- as far as

       5    small comments, kind of like coming back from the thing, and

       6    like knee high and stuff like that, like different --

       7                     THE COURT:    About what?

       8                     THE JUROR:    What's that?        Like different comments

       9    like as far as minor stuff like in the trial, but nothing

      10    like as far as results or anything like that.

      11                     THE COURT:    You mean there's been discussion about

      12    what somebody has learned on the Internet about that?

      13                     THE JUROR:    What's that?        Yeah, like different

      14    things like that, but --

      15                     THE COURT:    Well, let me ask you specifically.

      16    Have you heard any discussion about other trials?

      17                     THE JUROR:    Yeah.

      18                     THE COURT:    Okay.     And what did you hear about

      19    other trials?

      20                     THE JUROR:    Well, people were just talking about

      21    different like -- different court cases and stuff like that.

      22    Just different things as far as how different court cases and

      23    things like that go.           Trying to think of something specific.

      24    But it just was, like, hey, when I was watching TV and I saw

      25    this and that, as far as court cases.



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 96 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 69 of 87        Total Pages:(97 of 117)
                                              EXHIBIT 4                                     29




       1                     THE COURT:    Have you heard any discussion about

       2    the -- anybody naming any of the particular lawyers?

       3                     THE JUROR:    No, no, I haven't.       I've heard -- like

       4    me, typically when I'm back there, I'll sit back there -- and

       5    most of the time I go out for lunch, other than the last

       6    two days so -- but other than that, like, I've heard -- like

       7    I said -- let's see, like if I have, I can't really --

       8                     THE COURT:    Have you heard anybody discussing

       9    anything about actions by the North Carolina legislature?

      10                     THE JUROR:    Yes.

      11                     THE COURT:    Tell me about that.

      12                     THE JUROR:    One of the jurors mentioned something

      13    about there is -- the legislature passing like a law or

      14    something or talking about passing a law.

      15                     THE COURT:    Was there anything about what the law

      16    is about?

      17                     THE JUROR:    It was something dealing with --

      18    something dealing with the hogs or something like that,

      19    something dealing with something along those lines.                    They

      20    didn't get too much in detail or I didn't hear too much of

      21    the detail on it, but they were saying something about -- I

      22    came in on the end of that, but it was something dealing with

      23    some type of law that could affect the case or something

      24    similar along those lines.             So I did hear that.

      25                     THE COURT:    Do you remember who you heard



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 97 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 70 of 87        Total Pages:(98 of 117)
                                              EXHIBIT 4                                     30




       1    discussing it?

       2                     THE JUROR:    That was -- I'm trying to think of his

       3    name.    It was -- it was the -- I want to say it was                     .

       4                     THE COURT:    Mr.             , who sits on the back row

       5    next to the end?

       6                     THE JUROR:    Yeah.     I want to say it was him --

       7    yeah, I want to say it was him and, I think,                    or he was

       8    talking to           or somebody or something along those lines

       9    when I came back from the bathroom or something like that.

      10                     THE COURT:    Okay.

      11                     THE JUROR:    But...

      12                     THE COURT:    Have you heard anything, any discussion

      13    at all that you feel at this time would interfere with your

      14    ability to be fair and impartial --

      15                     THE JUROR:    No.

      16                     THE COURT:    -- and the decisions you're going to

      17    have to make about the case we're trying?

      18                     THE JUROR:    No.

      19                     THE COURT:    Have you got anything else you can tell

      20    me about any discussion among the jurors?

      21                     THE JUROR:    No.     I think the biggest thing --

      22    probably the biggest thing I heard was the whole thing as far

      23    as what I just told you as far as that.                 Other than that,

      24    it's just been kind of the -- where we're going to go for

      25    lunch and stuff like that.              Basic stuff.     Like I said, the



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 98 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 71 of 87         Total Pages:(99 of 117)
                                               EXHIBIT 4                                      31




       1    knee high thing, looked that up and some other stuff like

       2    that which was kind of funny.                I've never heard of that

       3    before for that -- before that.

       4                      THE COURT:    Okay.     I'm going to let you go back to

       5    the jury room and I would ask when you go back you not

       6    discuss what we've discussed.

       7                      THE JUROR:    Okay.

       8                      THE COURT:    Thank you a lot.         See you in a little

       9    bit.

      10                      THE JUROR:    Okay.

      11           (Juror # 7                                         escorted out of

      12                                          chambers)

      13                      THE COURT:                    .

      14                      MR. ANDERSON:     Judge I think one suggestion is they

      15    seem to be taking Internet research pretty literally.                      It may

      16    help to ask information from outside sources or news media,

      17    make it a little bit broader.

      18                      THE COURT:    Okay.

      19                      MR. KAESKE:     It sounded like when he said --

      20    literally he meant anything.               One person said somebody was

      21    talking about research on dogs, somebody else was talking

      22    about the knee high thing.              And so maybe my suggestion got

      23    too broad.

      24               (Juror #10                       escorted into chambers)

      25                      THE COURT:    Come right in, Ms.             .



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
              Case 7:14-cv-00237-BR Document           TRANSCRIPT
                                             176-1 Filed 07/09/18 Page 99 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 72 of 87       Total Pages:(100 of 117)
                                              EXHIBIT 4                                     32




       1                     THE JUROR:    Good morning.

       2                     THE COURT:    How are you?

       3                     THE JUROR:    Okay.

       4                     THE COURT:    I guess there may be some apprehension

       5    about in the jury room what's going on.

       6                     THE JUROR:    Yes, yes.

       7                     THE COURT:    I can understand that.        As you can see

       8    there is nobody here but Michelle and the deputy clerk and

       9    the two main lawyers.

      10                     THE JUROR:    Um-hum.

      11                     THE COURT:    Some things have come to my attention

      12    that's caused me to bring the jurors back here individually

      13    and talk to you about some things.                 It's important -- of

      14    course you know how important it is -- to be completely

      15    honest about everything so the Court -- I have a duty looking

      16    into things when something comes to my attention.

      17                     THE JUROR:    Um-hum.

      18                     THE COURT:    With that in mind, let me ask you if

      19    you have heard any discussions among the other jurors about

      20    any information they may have gained from sources outside the

      21    courtroom.

      22                     THE JUROR:    No, I haven't heard anything.

      23                     THE COURT:    Is there any -- have you heard anything

      24    about any discussion about other trials?

      25                     THE JUROR:    No, sir.



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 100 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 73 of 87      Total Pages:(101 of 117)
                                              EXHIBIT 4                                    33




       1                     THE COURT:    How about any of the lawyers by name?

       2                     THE JUROR:    From other trials you mean?

       3                     THE COURT:    No, any of the lawyers in this case by

       4    name discussing -- other than in -- well, again I'm referring

       5    to outside information or --

       6                     THE JUROR:    No.

       7                     THE COURT:    -- Internet research.

       8                     THE JUROR:    No, sir.

       9                     THE COURT:    Do you remember making the comment that

      10    it's getting difficult to stay impartial because of some of

      11    the things you've heard?

      12                     THE JUROR:    No, sir.      I'm open minded this whole

      13    time.

      14                     THE COURT:    Okay.     And what about the -- have you

      15    heard anything at all about the actions by the North Carolina

      16    legislature?

      17                     THE JUROR:    No, sir.

      18                     THE COURT:    So you're telling me that as far as you

      19    have observed and heard, there's been no discussion by

      20    anybody about any outside information or Internet research or

      21    things of that nature?

      22                     THE JUROR:    No, sir.

      23                     THE COURT:    Okay.     Well, I'm going to let you go on

      24    back to the jury room and when you do, please don't discuss

      25    with the other jurors what you and I may have talked about.



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 101 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 74 of 87      Total Pages:(102 of 117)
                                              EXHIBIT 4                                    34




       1                     THE JUROR:    Okay.

       2                     THE COURT:    Thank you.

       3             (Juror #10                       escorted out of chambers)

       4                     THE COURT:                    .

       5                     That's a direct conflict.

       6              (Juror #12                       escorted into chambers)

       7                     THE COURT:    Good morning, Ms.          .

       8                     THE JUROR:    Good morning.

       9                     THE COURT:    How are you this morning?

      10                     THE JUROR:    Fine.

      11                     THE COURT:    I guess there's a little apprehension

      12    back in the jury room as to what's going on.

      13                     THE JUROR:    A little bit.

      14                     THE COURT:    As you can tell, this is sort of a

      15    private conversation.           I don't have anybody in here except

      16    the people that absolutely have to be here like the court

      17    reporter --

      18                     THE JUROR:    Okay.

      19                     THE COURT:    -- and the two lawyers sitting back

      20    there.     You know them.

      21                     THE JUROR:    Um-hum.

      22                     THE COURT:    And Lauren.

      23                     THE JUROR:    Um-hum.

      24                     THE COURT:    The reason I asked you to come back

      25    here is to discuss with you and follow up on some information



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 102 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 75 of 87       Total Pages:(103 of 117)
                                              EXHIBIT 4                                     38




       1    talking to feel as at ease as you possibly can when you're

       2    talking to me.        And the thing I want to talk to you about is

       3    whether you have gained any information or have you heard

       4    anybody in the courtroom -- in the jury room, any other

       5    jurors, talking about information that they may have obtained

       6    from another source, like something they researched on the

       7    Internet or something of that nature.

       8                     THE JUROR:    I don't really pay any attention to it

       9    but -- not really.

      10                     THE COURT:    Have you heard anybody -- any other

      11    jurors discussing other trials that may have taken place?

      12                     THE JUROR:    Not really.        I think somebody said

      13    something about the legislator but not really any trials.

      14                     THE COURT:    Can you recall what you heard?

      15                     THE JUROR:    They said something that they were

      16    working on something about lawsuits and the legislature or

      17    something and I can't remember which one it was.                  Everybody

      18    is in there talking at the same time.

      19                     THE COURT:    All right.       What about the lawyers,

      20    have you heard anybody mention any of the lawyers who are in

      21    this case or any information they might have learned about

      22    the lawyers from outside sources?

      23                     THE JUROR:    No, sir.

      24                     THE COURT:    Okay.     Well, it sounds like the only

      25    thing you've heard any discussion on was about the



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 103 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 76 of 87            Total Pages:(104 of 117)
                                              EXHIBIT 4                                          39




       1    legislation --

       2                     THE JUROR:    I'm not sure what kind of cases -- what

       3    it was that they were talking about exactly but --

       4                     THE COURT:    Well, whatever you heard, has it in any

       5    way impaired your ability to be fair and impartial in the

       6    trial of this case?

       7                     THE JUROR:    No, sir.

       8                     THE COURT:    You don't think it will have any effect

       9    at all?

      10                     THE JUROR:    Not even close.

      11                     THE COURT:    I'm going to let you go back to the

      12    jury room and I would ask when you go back that you not

      13    discuss what we've talked about.

      14                     THE JUROR:    Okay.

      15                     THE COURT:    All right.       See you in a little bit.

      16             (Juror #5                        escorted out of chambers)

      17                     THE COURT:                        .

      18           (Juror #9                           escorted into chambers)

      19                     THE COURT:    There is my favorite nurse.

      20                     THE JUROR:    Hi.

      21                     THE COURT:    Hey, Ms.                .    How are you?

      22                     THE JUROR:    Okay.     How are you?

      23                     THE COURT:    Did you work last night?

      24                     THE JUROR:    No.

      25                     THE COURT:    I saw Ms.                   coming in the other



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 104 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 77 of 87      Total Pages:(105 of 117)
                                              EXHIBIT 4                                    40




       1    morning and -- I guess it was Monday morning -- and you said

       2    you had been working all week.

       3                     THE JUROR:    The weekend, yes, sir.

       4                     THE COURT:    The reason I've asked you to come back

       5    here is I want to discuss with you in just as private a

       6    conversation as we can.              I have to have the court reporter

       7    here because I have to take down everything and we just got

       8    the two main lawyers here.              You know them and Lauren, of

       9    course.

      10                     THE JUROR:    Um-hum.

      11                     THE COURT:    And it has to concern -- it has to do

      12    with any discussions that you may have had yourself or heard

      13    others having with regard to any information that a juror may

      14    have obtained either through searching the Internet or from

      15    other sources.        Have you heard any of that?

      16                     THE JUROR:    I have not, no.

      17                     THE COURT:    Well, let me get into a few specifics.

      18    Have you had any -- have you heard any discussion by other

      19    jurors about any action by the North Carolina legislature?

      20                     THE JUROR:    Not that I recall, no.

      21                     THE COURT:    Have you had any -- do you recall

      22    having any or hearing any discussion about other jurors

      23    having any information with regard to other trials?

      24                     THE JUROR:    No.

      25                     THE COURT:    What about the lawyers who are involved



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 105 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 78 of 87      Total Pages:(106 of 117)
                                              EXHIBIT 4                                    46




       1    in any way interfere with your ability to be fair and

       2    impartial?

       3                     THE JUROR:    No.     Not at all because that's

       4    something else.        This is -- it's the first time, you know --

       5    it's new for me.

       6                     THE COURT:    Thank you very much.      I want to let

       7    Lauren carry you back to the jury room and I would ask you to

       8    not discuss with your other jurors what you and I have talked

       9    about.

      10                     THE JUROR:    Okay.

      11                     THE COURT:    Okay.     Thank you, ma'am.

      12                     THE JUROR:    Yes.

      13           (Juror #6                            escorted out of chambers)

      14                     THE COURT:    I guess that's everybody but Mr.

      15             .

      16              (Juror #11                        escorted into chambers)

      17                     THE COURT:    Good morning, Mr.             .

      18                     THE JUROR:    Good morning.

      19                     THE COURT:    How are you, sir?

      20                     THE JUROR:    I'm doing well.

      21                     THE COURT:    I just called you back because I want

      22    to have a little private conversation with you.

      23                     THE JUROR:    Yes, sir.

      24                     THE COURT:    And it's about as private as I can make

      25    it without -- obviously without having it in the courtroom,



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 106 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 79 of 87         Total Pages:(107 of 117)
                                              EXHIBIT 4                                       47




       1    but I have to have the court reporter here and my courtroom

       2    deputy and the two lawyers are here because I need to report

       3    to them what is happening in here to let them hear it.

       4    That's the only reason.

       5                     THE JUROR:    Understood.        Yes, sir.

       6                     THE COURT:    What I need to talk to you about is to

       7    ask you whether you have heard other jurors or have you

       8    yourself discussed things that may have come from a source

       9    outside the courtroom such as from the Internet?

      10                     THE JUROR:    So, no, sir.

      11                     THE COURT:    Have you yourself done any Internet

      12    research?

      13                     THE JUROR:    No, sir.

      14                     THE COURT:    And you haven't discussed with any of

      15    the jurors any of the -- about results of what Internet

      16    research you may have done?

      17                     THE JUROR:    No, sir.

      18                     THE COURT:    Specifically, did you do any research

      19    about the -- any other trials that had been --

      20                     THE JUROR:    No, sir.

      21                     THE COURT:    -- conducted?        Did you do any research

      22    about what the North Carolina legislature may be doing with

      23    regard to --

      24                     THE JUROR:    No, sir.

      25                     THE COURT:    Have you heard anyone else have any



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 107 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 80 of 87         Total Pages:(108 of 117)
                                              EXHIBIT 4                                       53




       1                     THE JUROR:    That was            and whatever -- I don't

       2    know how to pronounce his last name.

       3                     THE COURT:    Yes.    And he's the one that said that

       4    he had heard that Mr. Houston was about to be indicted.

       5                     THE JUROR:    That's what he said.

       6                     THE COURT:    Okay.     Did that in any way -- do you

       7    feel that whatever you heard about that would -- Mr. Houston

       8    has not been a witness in the case.

       9                     THE JUROR:    No, he has not.          He's just been

      10    referred to in this case.

      11                     THE COURT:    Well, do you feel that that would in

      12    any way impair your ability to be fair and impartial?

      13                     THE JUROR:    I would hope not.          I don't know what

      14    Mr. Houston is going to be indicted for.                  Doesn't seem to be

      15    common knowledge out there except for maybe -- I don't get on

      16    the Internet a lot.           I only get on the Internet to pay my

      17    taxes most of the time and e-mail my sister a couple times a

      18    week.    I'm pretty illiterate on it.

      19                     THE COURT:    Well, of course, if Mr. Houston is not

      20    a witness, the only thing you heard about him is something

      21    outside the courtroom and your instructions, as I've told you

      22    all along, would be to decide this case based solely on what

      23    you hear inside the courtroom uninfluenced by any other

      24    outside information you may have received.                  Now, as I

      25    mentioned to you a minute ago, that's something that only you



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 108 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 81 of 87        Total Pages:(109 of 117)
                                              EXHIBIT 4                                      54




       1    can answer.        If --

       2                     THE JUROR:     Correct.

       3                     THE COURT:     -- if you feel it would in any way

       4    affect you, you need to let me know and say so and if not,

       5    say so.

       6                     THE JUROR:     All right.        I really still think I

       7    could be impartial.            I'm actually -- I wouldn't say totally

       8    enjoying it, but it's quite -- it's been quite the experience

       9    to be part of.

      10                     THE COURT:     Yeah.     Okay.     Well, again, I appreciate

      11    you bringing this to my attention and I'm going to let you go

      12    on back to the jury room and I would ask you not discuss with

      13    the jurors anything we've talked about.

      14                     THE JUROR:     I will.     I've had to tell them five or

      15    ten times, I do not know a thing, already.                 So thank you.

      16                     THE COURT:     Thank you, sir.

      17             (Juror #4                        escorted out of chambers)

      18                     THE COURT:     Would you all like to confer with your

      19    other attorneys and argue the matter in here or you want to

      20    go back and argue it in the courtroom or what's your

      21    feelings?

      22                     MR. KAESKE:     I don't feel a need to argue it in the

      23    courtroom.

      24                     THE COURT:     Mr. Anderson.

      25                     MR. ANDERSON:     I think we should spend some time



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 109 of 117
Appeal: 18-1762    Doc: 2-2       Filed: 07/06/2018   Pg: 82 of 87          Total Pages:(110 of 117)
                                               EXHIBIT 4                                        55




       1    conferring.         I'm happy to --

       2                      THE COURT:    Well, go and talk to your lawyers, your

       3    colleagues, your advisors or make any phone calls you need to

       4    make to whoever, and come back in about 15 minutes and let's

       5    talk again, okay?

       6                      MR. ANDERSON:     Yes, sir.

       7                      MR. KAESKE:     Thank you, sir.

       8          (Attorneys Kaeske and Anderson escorted out of chambers)

       9                             (Brief recess at 11:04 a.m.)

      10                 (Chambers conference resuming at 11:58 a.m.)

      11                      REPORTER'S NOTE:      PRESENT:         Tennile Checkovich,

      12    Mark Anderson, Jocelyn Mallette, Mona Wallace, Mike Kaeske,

      13    Amy Petty, Melissa Morgan, and Lauren Hermann.

      14                      THE COURT:    Okay.     Let the record reflect we are

      15    gathered back in the Judge's chambers following an interview

      16    with all the witnesses -- all the jurors with regard to

      17    allegations by one juror that there was some outside

      18    information obtained by at least one or some jurors and the

      19    purpose of gathering back together now is to answer or to get

      20    input from counsel on how we should proceed forward.                       And the

      21    first thing is should we -- whatever we do, do it in the

      22    Judge's chambers or in the courtroom.

      23                      Second thing is what should we do.             If either of

      24    you have any motions to make, you may make them when you get

      25    the floor.         And if you'll address those aspects of the



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 110 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 83 of 87          Total Pages:(111 of 117)
                                              EXHIBIT 4                                        56




       1    matter, if I have any questions of you, I'll ask you, and

       2    then I'll try to make a decision.

       3                     Mr. Kaeske.

       4                     MR. KAESKE:     Your Honor, if there is anything to be

       5    said about this, we should say it here on the record.                       I

       6    don't think there is any point in calling any public

       7    attention.        The media is already an issue for the case.                       We

       8    talked about that last week or the week before, whenever I

       9    asked to come in chambers, and we're obviously dealing with

      10    it again today.        I don't think we need to deal with more of

      11    that.

      12                     And so if there is anything -- if the defendant

      13    wants to make a motion or we need to have motions with

      14    respect to this issue, I think it should be done here.                          I

      15    don't think it needs to be done publicly.

      16                     THE COURT:    Do you have any motion?

      17                     MR. KAESKE:     I do not.

      18                     THE COURT:    Mr. Anderson.

      19                     MR. ANDERSON:     Your Honor, I think it's -- this is

      20    a serious and unfortunate matter that unfortunately goes to

      21    the integrity of the courts.              Obviously we're here -- we will

      22    have a motion.        We do have a motion.              We have no choice but

      23    to have a motion.         I think Ms. Checkovich has been pulling up

      24    the law while I was in here with the court.                    We had the

      25    unfortunate situation during those interviews -- I think it's



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 111 of 117
Appeal: 18-1762   Doc: 2-2       Filed: 07/06/2018   Pg: 84 of 87        Total Pages:(112 of 117)
                                              EXHIBIT 4                                      57




       1    clear that there was a lack of candor with the Court on the

       2    part -- the unavoidable conclusion is there was a lack of

       3    candor with the Court on the part of a number of individuals.

       4    I don't see --

       5                     THE COURT:    Are you making a motion --

       6                     MR. ANDERSON:     We do, yes, your Honor.

       7                     THE COURT:    -- for a mistrial?

       8                     MR. ANDERSON:     Yes.     Ms. Checkovich is happy to go

       9    through --

      10                     THE COURT:    Do you want to have it heard in here?

      11                     MR. ANDERSON:     I think we're willing to have it

      12    heard in here, yes.

      13                     THE COURT:    Okay.      Let me hear you.

      14                     MS. CHECKOVICH:       Yes, your Honor.      In determining

      15    whether to grant a mistrial this court should consider the

      16    degree of prejudicial influence possibly resulting from the

      17    information that the jurors have obtained.                 In making this

      18    determination of jurors' statements on whether they can be

      19    fair and impartial are not determinative.                 The Court must

      20    conduct an objective analysis considering the probable effect

      21    of the allegedly prejudicial information on the hypothetical

      22    average juror.        And what that basically means is you look to

      23    whether the information they have obtained from outside

      24    sources is admissible or not and when it's not and is

      25    prejudicial, then a mistrial is required regardless of



                                          ~ ROUGH DRAFT ~
                                    NOT A CERTIFIED
             Case 7:14-cv-00237-BR Document 176-1 FiledTRANSCRIPT
                                                        07/09/18 Page 112 of 117
Appeal: 18-1762   Doc: 2-2     Filed: 07/06/2018   Pg: 85 of 87        Total Pages:(113 of 117)




                                      Exhibit 5




             Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 113 of 117
Appeal:
 7/6/2018 18-1762                     Doc: 2-2                               Filed:  07/06/2018
                                                                                Pork Giant                  Pg: Battle
                                                                                           Loses Essential Legal 86 ofin Manure
                                                                                                                         87 Case - WSJ Total Pages:(114 of 117)
                                                                                                                                           EXHIBIT 5




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 BUSINESS

 Pork Giant Loses Essential Legal Battle in
 Manure Case
 A federal jury awarded $25 million to a rural couple in their suit against Smithʇield Foods Inc.




   Kenneth Sullivan, chief executive of Smithʇield Foods Inc., speaks during an interview in Hong Kong, China, in March 2017.
   PHOTO: WEI LENG TAY`BLOOMBERG NEWS


 By Valerie Bauerlein
 June 29, 2018 718 p.m. ET


 RALEIGH, N.C.—Chinese-owned pork giant Smithfield Foods Inc. lost a pivotal legal battle on
 Friday, as a federal jury awarded $25 million to a rural couple for the nuisance caused by living
 near a Smithfield contractor’s hog farm.

 The lawsuit is the second in a series of complaints brought by 500 rural North Carolinians who
 live near Smithfield contractors storing manure in open pools.

 Smithfield lost the first case earlier this spring, when a jury in the U.S. District Court for the
 Eastern District of North Carolina awarded $50 million to 10 families in Bladen County in the
 eastern part of the state. That amount was reduced to $3.25 million to align with state caps on
 damages.



 The earlier case was chosen by plaintiﬀs’ attorneys as their best argument in the bellwether
 cases setting the tone for the handling of the hundreds of others.

 Friday’s verdict was a particular blow for Smithfield because the company chose the case as its
 best chance to convince a jury that its contract farms did not pose a nuisance.

 The couple in Friday’s verdict, Elvis and Vonnie Williams of rural Duplin County, moved in after
 the hog farm was established and did not complain to oﬃcials before filing their suit, according
 to court filings.

 Representatives of Smithfield and the plaintiﬀs declined to comment, citing a gag order.



                            Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 114 of 117
 https://www.wsj.com/articles/pork-giant-loses-essential-legal-battle-in-manure-case-1530314322?mod=searchresults&page=1&pos=2                                                                                                1/2
Appeal:
 7/6/2018 18-1762                Doc: 2-2                               Filed:  07/06/2018
                                                                           Pork Giant                  Pg: Battle
                                                                                      Loses Essential Legal 87 ofin Manure
                                                                                                                     87 Case - WSJ Total Pages:(115 of 117)
                                                                                                            But in a
                                                                                                                                       EXHIBIT 5
                                                                                                           recent
                                                                                                           intervie
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                                                                                                           Smithfi
                                                                                                           eld
                                                                                                           Chief
                                                                                                           Executi
                                                                                                           ve Ken
                                                                                                           Sulliva
                                                                                                           n said
                                                                                                           the
   Young hogs at Everette Murphrey Farm in Farmville, N.C., July 2017 PHOTO: GERRY BROOME`ASSOCIATED PRESS lawsuit

                                                                                                           s pose
 “an existential threat” to Smithfield’s business in the state. He said abandoning the practice of
 storing solid waste in open lagoons and spraying liquid waste on farmland, as suggested by the
 plaintiﬀs, would undermine Smithfield’s business.

 North Carolina produces 8.9 million hogs annually, more than any other state except Iowa.
 Smithfield owns the vast majority of the hogs produced here, both on company-owned farms
 and farms run by contractors.

 “The verdict is heartbreaking and could have severe and unforeseen economic consequences,”
 according to the NC Pork Council, a trade group.

 Environmentalists cheered the verdict, saying it could force a change in how hog manure is
 handled here. “In the end, it would be much better for the swine industry to replace all the
 lagoons and sprayfields so that our state’s rural economy can grow with the new construction
 activity that lagoon conversion would bring,” said Ryke Longest, professor at Duke University’s
 law school.

 Earlier this week, North Carolina’s legislature adopted a law restricting future lawsuits over
 hog farm nuisances. The new law does not aﬀect the ongoing complaints.



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                        Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 115 of 117
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Appeal: 18-1762       Doc: 2-3           Filed: 07/06/2018         Pg: 1 of 2                     Total Pages:(116 of 117)




                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER INTERESTS
        Disclosures must be filed on behalf of all parties to a civil, agency, bankruptcy or mandamus
        case, except that a disclosure statement is not required from the United States, from an indigent
        party, or from a state or local government in a pro se case. In mandamus cases arising from a
        civil or bankruptcy action, all parties to the action in the district court are considered parties to
        the mandamus case.

        Corporate defendants in a criminal or post-conviction case and corporate amici curiae are
        required to file disclosure statements.

        If counsel is not a registered ECF filer and does not intend to file documents other than the
        required disclosure statement, counsel may file the disclosure statement in paper rather than
        electronic form. Counsel has a continuing duty to update this information.

        No. __________                        In re Murphy-Brown LLC
                                     Caption: __________________________________________________

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Murphy-Brown LLC
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?             YES   ✔     NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:
                  The sole member of Murphy-Brown LLC is John Morrell & Co., which is a wholly-owned
                  subsidiary of Smithfield Foods, Inc. In turn, Smithfield Foods, Inc. is owned by United Global
                  Foods (US), Inc., which is owned by Ipopema 127, which is owned by SFDS Malta Limited,
                  which is owned by Rotary Vortex Limited, which is owned by WH Group Limited.


        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        09/29/2016 SCC                       -1-
              Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 116 of 117
Appeal: 18-1762    Doc: 2-3          Filed: 07/06/2018       Pg: 2 of 2                     Total Pages:(117 of 117)




        4.     Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation (Local Rule 26.1(a)(2)(B))?     YES ✔ NO
               If yes, identify entity and nature of interest:




        5.     Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
               If yes, identify any publicly held member whose stock or equity value could be affected
               substantially by the outcome of the proceeding or whose claims the trade association is
               pursuing in a representative capacity, or state that there is no such member:




        6.     Does this case arise out of a bankruptcy proceeding?                               YES   ✔   NO
               If yes, identify any trustee and the members of any creditors’ committee:




                   /s/ Stuart A. Raphael
        Signature: ____________________________________                     Date: ___________________
                                                                                        7/9/2018

                     Murphy-Brown LLC
        Counsel for: __________________________________


                                     CERTIFICATE OF SERVICE
                                           **************************
                              July 9, 2018
        I certify that on _________________    the foregoing document was served on all parties or their
        counsel of record through the CM/ECF system if they are registered users or, if they are not, by
        serving a true and correct copy at the addresses listed below:
         Mona Lisa Wallace                                 Michael Kaeske
         John Hughes                                       Lynn Bradshaw
         WALLACE & GRAHAM, P.A.                            Eric Manchin
         525 North Main Street                             KAESKE LAW FIRM
         Salisbury, NC 28144                               1301 W. 25th Street, Suite 406
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                                                           emanchin@kaeskelaw.com


        /s/ Stuart A. Raphael
        _______________________________                                             7/9/2018
                                                                            ________________________
                  (signature)                                                         (date)

                                            -2-
             Case 7:14-cv-00237-BR Document 176-1 Filed 07/09/18 Page 117 of 117
